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                                                                                         APPEAL,JD1,TERMED
                        U.S. District Court − District of Colorado
                              District of Colorado (Denver)
                   CIVIL DOCKET FOR CASE #: 1:23−cv−00645−NYW

   Shaver v. Whittier Condominiums HOA                                Date Filed: 03/13/2023
   Assigned to: Judge Nina Y. Wang                                    Date Terminated: 05/09/2023
   Demand: $5,000,000                                                 Jury Demand: None
   Case in other court: U.S. Court of Appeals for the Tenth           Nature of Suit: 440 Civil Rights: Other
                        Circuit, 23−01197                             Jurisdiction: Federal Question
   Cause: 42:1983(c)(v)(p) − Civil Rights (Personal Property)
   Plaintiff
   David William Dacres Shaver                        represented by David William Dacres Shaver
                                                                     1750 30th Street
                                                                     #A338
                                                                     Boulder, CO 80301
                                                                     303−351−4239
                                                                     PRO SE


   V.
   Defendant
   Whittier Condominiums HOA
   (City of Boulder has been sent Notice)


    Date Filed      #   Docket Text
    05/03/2023    32    Response and Motion to Stay/Extend Termination/Order of 4.12 Pending Indented
                        Appeal Outcome, by Plaintiff David William Dacres Shaver. (Attachments: # 1
                        Certificate of Service, # 2 Exhibit, # 3 Exhibit)(angar, ) (Entered: 05/04/2023)
    05/09/2023    33    ORDER denying 32 Response and Motion to Stay/Extend Termination/Order of 4.12
                        Pending Intended Appeal Outcome. Because Plaintiff's Complaint has been dismissed
                        without prejudice for lack of subject matter jurisdiction, and because Plaintiff has not
                        filed an amended pleading by the Court's deadline, this case is terminated, by Judge
                        Nina Y. Wang on 5/9/2023. (ebuch) (Entered: 05/09/2023)




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  □ District Court □ Boulder County □ BoulderFederal
                                              Municipal Court            FILED

  Address:901 19th Street, Denver, CO 80294 ■
                                                     Court    UNITED STATES DISTRICT COURT
                                                                   DENVER, COLORADO
                                                                                      1:09 pm, May 03, 2023
  Plaintiff:             David William Dacres Shaver                          JEFFREY P. COLWELL, CLERK
  Vs. Defendant(s):      Whittier Condominiums HOA,
                         (City of Boulder Sent Notice)
                                                                              A COURT USE ONLY A
  ‘Pro Se’Party/Not member of Colorado Bar (Name and Address) Case Number:
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301                                     23-cv-00645-NYW
  Phone Number: 303-351-4239 eMail:davidwshaver@yahoo.com
  Response and Motion to Stay/Extend Termination /Order of 4.12 pending Intended Appeal Outcome
     A) After review of this Court’s Order of 4.12+, Plaintiff, and his advisors believe, with what they
 think is significant researched ® basis for such belief, that all of this Court’s positions against the origi-
 nal Complaint are arguable in the circumstances. Further, in particular, now having even involved an
 outside consultant (who, within hours, with a couple of extra pointers and precedents*, also appeared
 likely to be willing to provide a professional opinion to that effect, for ~1/3 of the fee Plaintiff paid to
 this Court for evaluation, if this court would care to remit such), all are still of the opinion and belief
 that subject matter jurisdiction should be logically and/or legally determinable from provided filings.
     B) Plaintiff is submitting, along with this filing, an updated ‘Brief in support of Complaint...’inclu-
 sive of said precedents*, in order that this Court may factor its findings into its own consideration.
 Further supplied are a few extra Exhibits which were not included with original filings, due to
 Plaintiff’s concerns which had been raised by failures in prior court cases to provide for sealed or
 restricted information (even exposing exhibits in some cases [Jeffco Case#21C417] when I was assured
 the policy was that such be destroyed if not sealed as requested). It appears to this Plaintiff that, unless
 the exhibits he supplied are being provided with the level of security that he requested (which does not
 appear to comport with the reported ‘restricted’access level said to have been applied), this court has
 likewise failed, and apparently is not ~worthy of being trusted with information that he personally gave
 others assurances to keep confidential. Plaintiff considers that certain information on the [Exh N] sup-
 plied to Corvel should be treated in accordance with confidentiality agreement section+terms of[Exh J].
     C) Plaintiff also believes that: 1) If after it may be determined that there may have been significant
 damages to his personal property, certain parties should be joined as Defendant(s), who are effectively
 in abrogation or Breach of Contract of Native American Treaties [Exh G p5] (which the Federal Court
 System would also cumulatively be considered to be in breach of, upon any unjust resolution).




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 2) Given that one of the ‘Board’ of the HOA is currently shown in publicly available records as having
 a Canadian address (though Defendant’s attorney hasn’t responded to recent explicit requests for relat-
 ed Discovery), this could potentially contribute to additional diversity jurisdiction basi(e)s.
    D) However, said research® also indicates that this Court may likely not be in a position to do any-
 thing about certain rules or applications itself. In particular, it appears that addressing some of these
 issues may require the involvement of Higher Courts under the circumstances of this case; in particu-
 lar: 1) The ‘well pleaded complaint rule’s interpretations vs. the actual letter & intents of the 1875 Act
 from which it reportedly claims its empowerment, 2) ‘Artful pleading’doctrine’s logical applicability.
 3) Contributions of jurisdictional basi(e)s from issues or Defendant(s) which should be necessarily
 raised or joined as a direct immediate consequence of personal property damage, or otherwise ~guaran-
 teed events. 4) The apparent lack of Rules preventing gender discrimination in judicial selection, in line
 with intents of Title VII of the Civil Rights Act of 1964. 5) Modifications of such tests as Grable/Gunn
 incorporating potential changes i.e. in such cases of ~ otherwise an apparently effective failure to con-
 sider a case, or provide a forum. 6) The claimed necessity to add additional explicit causes for ‘Civil
 Rights’ up front, when entities clearly acting under ‘Color of’ state or federal law directly interfered.
 7) Reputedly ‘Unsettled Jurisprudence’by the Supreme Court on Private legal invocations of Treaties.
 8) Apparent representations that entities can’t be considered as acting under ‘Color of’ Federal law, in
 circumstances which require applications of federal environmental laws (i.e. those which claim their
 empowerment via the President of the United States). 9) Request: all ~30 FRCP 20 joinders be joined?
   PlainUff hereby PI.QvuluNQtie.e that he                              of these or other
 WHEREFORE, It appears to Plaintiff via his research that evaluations &| adjustments of some of these
 issues may require the involvement of Higher Courts, potentially even unto the U.S. Supreme Court via
 certiorati review, and thus Plaintiff respectfully requests, God willing, that this Court, after consideration
 of the additional filings submitted along with, and reconsideration of case filings thereby, in support of
 these Motions, it should preferably Stay its Order i.e. terminating Plaintiff’s case (&| provide for support
 for any ‘Interlocutory Appeal’/certifications {i.e. via 28 U.S.C. § 1292(b)} which may be necessary or
 appropriate in such an instance), &| Extend deadlines for Amendation of Complaint or other Filings
 until or for determination of Appeal outcome(s), &| for any other necessary &| just &| appropriate relief.

 Signature of ‘Plaintiff’:                    /s/David W
                                                       m Shaver      (PRO SE)      Date:         5.03.2023

 Address: 1750 30th St Suite A338, Boulder CO 80301                                Phone:     303-351-4239
                                                                                                       Page 2

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  ✔
   District Court of Colorado (Federal)
  _________________________________________ County, Colorado
  Denver
  Court Address:
  Address:901 19th Street, Denver, CO 80294
  In Re:
  Petitioner:
                           David William Dacres Shaver
                                        vs,
                           Whittier Condominiums' Place
  Respondent/Co-Petitioner:Homeowners Association Incorporated +
                           (City of Boulder has been sent Notice)
  Attorney or Party Without Attorney (Name and Address):
                                                                                       .     COURT USE ONLY
                                                                                  Case Number:
                                                                                                                       .
  David William Dacres Shaver
  1750 30th St Suite A338, Boulder CO 80301                                                   23-cv-00645-NYW

  Phone Number: 303-351-4239               E-mail:davidwshaver@yah D
  FAX Number:                              Atty. Reg.#: PRO SE       Division                       Courtroom
                                              CERTIFICATE OF SERVICE

 I certify that:

 1.



 2.
                         -
            The original and one copy of the
                                                    Response to Order of 4.12, Amended Brief for Replevin /
                                                    Injunction (+Exhibits intended Suppressed/Sealed).

            was  mailed OR  delivered to the Clerk of the Court; and
                                       eMailed (to all)
                                                                        (name of document)

                                                                   COD_ProSe_Filing@cod.uscourts.gov
            A true and accurate copy of the same document was  hand delivered OR  faxed to this
            number                                        OR  placed in the United States mail, postage prepaid,
            and addressed to the following parties on this date:          05.03.2023                              .


 TO: ___________________________________
      sleff@wlpplaw.com : Suzanne M. Leff
        christine@boulderhoa.com : Whittier HOA billing
                  (located at registered agent's address)
       ___________________________________
                                  @ ~Time of Fire

       ___________________________________



                                                               David William Dacres Shaver (PRO SE) / Plaintiff
                                                               ✔
                                                                Petitioner OR  Respondent/Co-Petitioner

                                                               1750 30th St Suite A338
                                                               Address

                                                               Boulder, CO 80301
                                                               City, State, Zip Code

                                                                303-351-4239
                                                               (Area Code) Telephone Number (home and work)




 JDF 1313     R7/00   CERTIFICATE OF SERVICE                                                   PAGE 1 OF 1

                                                                                                                           4
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{Intended Sealed} Plaintiff's Exhibit P : Properties Purchased at eBay Auctions w/Receipt#
[Given the lack of passage of Plaintiff's Motion to Seal yet, Names are currently Redacted]
                                                  Sheet1

                                                                                                                                                         20131106
                                                                                            2013-12-16T21 :34:03+00:00 Total                     $381.00 20131216
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                                                               II 1°      I• I I II  2007-09-29T12:08:04-07:00 Sale price                       $55.00 20070929

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                                       Sheet1
                                                                      2013-11-07T17:52:12+00:00 Total                $50.0020131107
                                                                      2014-08-06T20:21 :17+00:00 Total               $49.99 20140806
                                                                                                                            20170530
                                                                      2011-08-29T04:15:37-07:00                      $49.9020110829
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                                                                      2013-09-01 T04:31 :02+00:00 Total              $37.95 20130831
                                                                      2020-02-09T04:52:30+00:00 Total                $37.47 20200208
                                                                      2021-08-09T23:57: 18+00:00 Total               $37.01 20210809
                                                                      2018-02-09T06:49:11 +00:00 Paid                $36.90 20180208
                                                                      2020-01-04T20:03:29+00:00 Total                $36.7420200104
                                                                      2016-04-27T06:46:06+00:00     PAID             $36.00 20160427
                                                                      2019-02-23T06:53:09+00:00     Total            $35.28 20190222
                                                                      2014-10-13T22:02:03+00:00     Total            $35.1020141013
                                                                      2015-03-08T05:51 :24+00:00    PAID             $35.00 20150307
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                                                                      2018-06-23T08:57:44+00:00 Total                $33.59 20180623
                                                                      2016-07-22T21 :04:06+00:00 PAID                $32.9820160722
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                                                                      2017-12-12T21 :40:41 +00:00   Paid             $30.00 20171212
                                                                      2019-08-03T19:43:39+00:00     won              $30.00 20190803
                                                                      2019-08-03T19:49:42+00:00     Total            $30.00 20190803
                                                                      2011-03-31T10:42:07-07:00     Total            $29.9920110331
                                                                      2016-04-18T02:35:46+00:00     Paid             $29.9920160417
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                                                                      2017-05-07T17:53:29+00:00     Paid             $29.99 20170507
                                                                      2018-10-15T23:33:18+00:00     Total            $29.9920181015
                                                                      2014-12-17T00:42:52+00:00     PAID             $29.98 20141216
                                                                      2009-03-16T15:45:32-07:00     Sale price       $29.95 20090316
                                                                      2010-12-16T12:50:43-08:00     price            $29.95 20101216
                                                                      2019-12-07T05:09:49+00:00     Total            $28.87 20191206
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                                                                      2017-05-08T19:15:30+00:00 Paid                 $28.45 20170508
                                                                      2012-12-27T17:46:46-08:00     Total            $28.01 20121227
                                                                      2014-01-30T16:27:40-08:00     Total            $27.50 20140130
                                                                      2014-02-04 T16:34:00-08:00    Total            $27.50 20140204
                                                                      2014-10-13T21 :46:24+00:00    Price            $27.1020141013
                                                                      2010-04-09T14:57:57-07:00     Sale price       $27.06 20100409
                                                                      2008-04-14 T13:25:01-07:00    Sale price       $26.40 20080414
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                                                                      2018-04-26T01 :15:39+00:00    Paid             $26.1820180425


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                                       Sheet1
                                                                                                                                       20191208
                                                   2017-02-25T15: 13:33-07:00    2017 -02-25T22:13:34+00:00    Paid             $25.93 20170225
                                                   2014-03-07T02:04:59-07:00     2014-03-07T09:05:00+00:00     Total            $25.75 20140307
                                                   2014-10-13T17:40:24-07:00     2014-10-14T00:40:25+00:00     Total            $25.5120141013
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                                                   2013-02-09T15:46:55-07:00     2013-02-09T14:46:57-08:00     Total            $23.83 20130209
                                                   2013-11-05T21 :38:57-07:00    2013-11-06T04:38:58+00:00     Total            $23.0020131105
                                                   2016-03-15T22:07:31-07:00     2016-03-16T05:07:32+00:00     Paid             $23.0020160315
                                                   2016-11-07T16:51 :05-07:00    2016-11-07T23:51 :06+00:00    Paid             $23.0020161107
                                                   2016-08-15T10:23:38-07:00     2016-08-15T17:23:39+00:00     PAID             $22.9920160815
                                                   2013-04-26T15:52:06-07:00     2013-04-26T22:52:08+00:00     Total            $22.96 20130426
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                                                   2015-02-05T23:23:14-07:00     2015-02-06T06:23: 16+00:00    Total            $22.81 20150205
                                                   2014-01-19T04:02:26-07:00     2014-01-19T11 :07:22+00:00    Total            $22.67 20140119
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                                                   2020-11-16T23:12:47-07:00     2020-11-17T06:12:50+00:00     Total            $21.7820201116
                                                   2021-08-24T20:11 :56-07:00    2021-08-25T03:11 :58+00:00    Total            $21.7620210824
                                                   2018-03-08T21 :03:43-07:00    2018-03-09T04:03:46+00:00     Paid             $21.59 20180308
                                                   2018-01-30T21 :44:27-07:00    2018-01-31 T04:44:30+00:00    UNKNOWN          $20.9620180130
                                                   2020-09-24T23:56:23-07:00     2020-09-25T06:56:25+00:00     Total            $20.86 20200925
                                                   2015-07-29T22:51 :43-07:00    2015-07-30T05:51 :45+00:00    PAID             $20.83 20150729
                                                   2011-01-11T20:16:37-07:00     2011-01-11T19:16:37-08:00     Sale price       $20.5020110111
                                                   2013-08-28T14:43:26-07:00     2013-08-28T14:43:27-07:00     Total            $20.00 20130828
                                                   2014-10-09T15:21 :35-07:00    2014-10-09T22:21 :36+00:00    Total            $20.00 20141009
                                                   2017-01-27T18:19:06-07:00     2017-01-28T01 :19:07+00:00    PAID             $20.00 20170127
                                                   2017-12-05T05:22:16-07:00     2017-12-05T12:22:18+00:00     won              $20.00 20171205
                                                   2012-08-14T18:56:49-07:00     2012-08-14T18:56:50-07:00     Total            $19.99 20120814
                                                   2017-02-21 T04:14:11-07:00    2017-02-21T11 :14:12+00:00    Paid             $19.99 20170221
                                                   2017-02-21 T04:04:56-07:00    2017-02-21 T11 :04:57+00:00   Total            $19.99 20170221
                                                   2017-02-22T23:36:28-07:00     2017-02-23T06:36:29+00:00     won              $19.99 20170222
                                                   2017-02-22T23:46:57-07:00     2017-02-23T06:46:58+00:00     Total            $19.99 20170222
                                                   2017-10-03T17:00:17-07:00     2017-10-04T00:00:19+00:00     Paid             $19.99 20171003
                                                   2013-04-08T22:26:56-07:00     2013-04-09T05:26:57 +00:00    Total            $19.95 20130408
                                                   2014-02-03T02:58: 16-07:00    2014-02-03T01 :58:25-08:00    Total            $19.95 20140203
                                                   2014-06-21 T01 :57:15-07:00   2014-06-21 T08:57: 16+00:00   Total            $19.95 20140621
                                                   2015-10-19T13:31 :48-07:00    2015-10-19T20:31 :49+00:00    PAID             $19.75 20151019
                                                   2018-10-15T16:28:04-07:00     2018-10-15T23:28:06+00:00     price            $19.5620181015
                                                   2009-09-16T12:18:07-07:00     2009-09-16T12:18:08-07:00     Sale price       $19.50 20090916
                                                   2015-02-15T15:19:35-07:00     2015-02-15T22:19:36+00:00     Total            $19.4020150215
                                                   2015-02-15T14:57:03-07:00     2015-02-15T21 :57:04+00:00    Total            $19.4020150215
                                                   2012-02-26T19:50:08-07:00     2012-02-26T18:50:10-08:00     Total            $19.34 20120226
                                                   2018-02-05T18: 13:02-07:00    2018-02-06T01 :13:03+00:00    Paid             $19.29 20180205
                                                   2016-09-25T21 :55:15-07:00    2016-09-26T04:55: 16+00:00    PAID             $19.24 20160925
                                                   2011-05-18T21 :07:41-07:00    2011-05-18T21 :07:42-07:00    Total            $18.9920110518
                                                   2017-02-20T20:32:03-07:00     2017-02-21 T03:32:04+00:00    Paid             $18.99 20170220
                                                   2016-02-23T18:11 :58-07:00    2016-02-24T01 :11 :59+00:00   Paid             $18.98 20160223
                                                                                                                                       20200209
                                                   2020-09-08T16: 12:04-07:00    2020-09-08T23:12:06+00:00     Total            $18.89 20200908
                                                   2016-04-11T19:44:00-07:00     2016-04-12T02:44:01 +00:00    PAID             $18.8620160411
                                                   2020-03-19T17:08:40-07:00     2020-03-20T00:08:41 +00:00    Total            $18.83 20200319
                                                   2016-05-11T16:33:36-07:00     2016-05-11 T23:33:38+00:00    PAID             $18.67 20160511
                                                   2010-12-09T19:10:46-07:00     2010-12-09T18:10:47-08:00     Total            $18.49 20101209
                                                   2019-12-08T20: 14:26-07:00    2019-12-09T03:14:27+00:00     Total            $18.48 20191208
                                                   2021-08-21 T14:10:37-07:00    2021-08-21 T21 :10:39+00:00   Total            $18.4520210821
                                                   2019-05-22T18:50:48-07:00     2019-05-23T01 :50:51 +00:00   Total            $18.1920190522


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                                                             2014-06-25T03:59:43+00:00     Total            $17.99 20140624
                                                             2014-03-02T00:05:49+00:00     Total            $17.94 20140301
                                                             2020-02-11 T05:08:21 +00:00   Total            $17.93 20200210
                                                             2015-01-12T06:13:17+00:00     Total            $17.90 20150111
                                                             2013-07-01 T23:08:41 +00:00   Total            $17.58 20130701
                                                             2013-04-15T14:53:10-07:00     Total            $17.3520130415
                                                             2014-11-29T03:44:08+00:00     Total            $17.3220141128
                                                             2016-04-14 T02:57:54+00:00    PAID             $16.9920160413
                                                             2016-01-30T19:20:07+00:00     PAID             $16.97 20160130
                                                             2012-10-24T19:16:32-07:00     Total            $16.83 20121024
                                                             2017-12-22T01 :49:46+00:00    Paid             $16.79 20171221
                                                             2020-03-16T04:07:38+00:00     Total            $16.7920200315
                                                             2020-05-15T22:20:28+00:00     Total            $16.7120200515
                                                             2016-03-01 T02:28:14+00:00    PAID             $16.70 20160229
                                                             2020-02-15T19:10:47+00:00     Total            $16.67 20200215
                                                             2020-04-23T21 :34:16+00:00    Total            $16.52 20200423
                                                             2014-02-28T08:12: 16+00:00    Total            $16.50 20140228
                                                             2018-09-19T21 :54:36+00:00    Total            $16.49 20180919
                                                             2014-04-17T01 :21 :47+00:00   Total            $16.4520140416
                                                             2021-08-14T06:18:17+00:00     Total            $16.31 20210814
                                                             2021-06-02T04:57:24+00:00     Total            $16.27 20210601
                                                             2018-11-21T21 :16:29+00:00    Total            $16.0520181121
                                                                                                                   20081206
                                                             2014-10-27T05:40:31 +00:00 Total               $15.9920141026
                                                             2013-03-28T16:36:47-07:00 Total                $15.9820130328
                                                             2016-11-08T02:48:12+00:00 PAID                 $15.9520161107
                                                                                                                   20180429
                                                             2020-06-01T13:04:18+00:00     UNKNOWN          $15.95 20200601
                                                             2017-01-13T00:27:03+00:00     PAID             $15.9020170112
                                                             2018-01-29T19:59:41 +00:00    Paid             $15.8920180129
                                                             2013-08-26T15:45:41 +00:00    Total            $15.8220130826
                                                             2016-07-26T01 :54:28+00:00    Paid             $15.7420160725
                                                             2019-08-04 T00:22:54+00:00    Total            $15.7420190803
                                                             2019-08-04 T00:29:04+00:00    Total            $15.7420190803
                                                             2019-12-11 T08:13:20+00:00    Total            $15.7120191211
                                                             2018-02-26T19:25:14+00:00     PAID             $15.4320180226
                                                             2014-10-31 T02:26:52+00:00    Total            $15.3320141030
                                                             2013-08-17T04:47:07 +00:00    Total            $15.2820130816
                                                             2013-0IMJ8T00:38:28+00:00      allll           $1     20130907
                                                                                                                   20140302
                                                             2020-03-18T19:55:49+00:00     Total            $15.0920200318
                                                             2017-09-27T00:21 :52+00:00    Paid             $15.0020170926
                                                             2017-12-04T08:11 :52+00:00    Paid             $15.0020171204
                                                             2017-12-12T15:06:49+00:00     won              $15.0020171212
                                                             2011-03-31T08:59:11-07:00     Sale price       $14.9920110331
                                                             2014-12-23T00:55:46+00:00     Total            $14.99 20141222
                                                             2015-04-01 T04:18:08+00:00    PAID             $14.99 20150331
                                                             2016-09-27T02:03:39+00:00     PAID             $14.99 20160926
                                                             2018-07-15T12:05:31 +00:00    won              $14.9920180715
                                                             2016-04-19T04:05:39+00:00     Paid             $14.9820160418
                                                             2012-08-1 0T20:55:35-07:00    Total            $14.9520120810
                                                                                           Total            $14.9520131113
                                                                                           Total            $14.9520141109
                                                                                                             1     20170718
                                                                                           PAID             $14.7020160413
                                                                                           Total            $14.5920110428
                                                             2018-01-30T06:06:42+00:00     Paid             $14.54 20180129
                                                             2014-10-13T23:52:37+00:00     Price            $14.5220141013
                                                             2012-03-29T19:56:21-07:00     Total            $14.50 20120329
                                                             2012-04-08T14:03:31-07:00     Total            $14.50 20120408
                                                             2017-07-01 T03:08:59+00:00    Paid             $14.50 20170630
                                                             2013-09-10T21 :18:35+00:00    Total            $14.4520130910
                                                             2014-12-03T22:15:27 +00:00    Price            $14.34 20141203
                                                             2018-04-11T19:15:35+00:00     Paid             $14.2420180411
                                                             2020-09-08T23:07:58+00:00     Total            $14.21 20200908
                                                             2014-10-22T06:03:05+00:00     Total            $14.20 20141022
                                                             2021-07-1 H00:39:27 +00:00    Total            $14.1420210716
                                                             2018-02-27T17:16:07 +00:00    Paid             $14.00 20180227


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                                                   2015-01-04T01 :40:29-07:00     2015-01-04 T08:40:30+00:00    Total            $13.99 20150104
                                                   2016-05-05T21 :54:12-07:00     2016-05-06T04:54:13+00:00     PAID             $13.99 20160505
                                                   2016-06-30T14:00: 13-07:00     2016-06-30T21 :00:14+00:00    Paid             $13.99 20160630
                                                   2016-10-07T12:47:38-07:00      2016-10-07T19:47:39+00:00     Paid             $13.9920161007
                                                   2018-02-06T17: 17:55-07:00     2018-02-07T00:17:56+00:00     Paid             $13.9920180206
                                                   2018-02-06T17: 17:55-07:00     2018-02-07T00:17:58+00:00     Paid             $13.9920180206
                                                   2020-02-03T00:08:29-07:00      2020-02-03T07:08:30+00:00     Total            $13.99 20200203
                                                   2014-07-20T20:26:29-07:00      2014-07-21 T03:26:30+00:00    Total            $13.98 20140720
                                                   2017-08-15T19:21 :53-07:00     2017-08-16T02:21 :56+00:00    Paid             $13.9820170815
                                                   2018-11-19T18:29:32-07:00      2018-11-20T01 :29:35+00:00    Total            $13.9820181119
                                                                 :     : I   I     I       I                                         • • 20140119
                                                   2017-06-1OT14:09:23-07:00      2017-06-10T21 :09:24+00:00    PAID             $13.9520170610
                                                   2014-06-29T22:31 :28-07:00     2014-06-30T05:31 :29+00:00    Total            $13.90 20140629
                                                   2018-01-30T08:05:39-07:00      2018-01-30T15:05:42+00:00     Total            $13.9020180130
                                                   2018-02-1 0T00:22:37-07:00     2018-02-1 0T07:22:39+00:00    Total            $13.9020180210
                                                   2019-08-24T03:04:03-07:00      2019-08-24 T10:04:05+00:00    Total            $13.83 20190824
                                                   2018-08-28T20:24:33-07:00      2018-08-29T03:24:37 +00:00    Total            $13.77 20180828
                                                   2021-08-19T18:34:30-07:00      2021-08-20T01 :34:32+00:00    Total            $13.77 20210819
                                                   2018-10-09T20:52:29-07:00      2018-10-10T03:52:31 +00:00    Total            $13.7320181009
                                                                                                                                         20200510
                                                   2021-06-09T09:46:20-07:00      2021-06-09T16:46:22+00:00     Total            $13.6120210609
                                                   2019-12-06T00:52:27-07:00      2019-12-06T07:52:28+00:00     Total            $13.5920191206
                                                   2015-02-15T14:38:51-07:00      2015-02-15T21 :38:53+00:00    won              $13.5020150215
                                                   2019-12-08T20: 14:07-07:00     2019-12-09T03:14:08+00:00     won              $13.5020191208
                                                     13-10-22T12:59:09-07:00      2013-10-22T19:59:11 +00:00    Total            $13.4920131022
                                                   2016-07-24 T20: 18: 17-07:00   2016-07-25T03:18: 18+00:00    won              $13.4920160724
                                                   2016-11-03T15:22:10-07:00      2016-11-03T22:22:11 +00:00    PAID             $13.4420161103
                                                   2018-01-30T21 :55:28-07:00     2018-01-31 T04:55:31 +00:00   UNKNOWN          $13.2920180130
                                                   2014-02-05T01 :13:05-07:00     2014-02-05T08:13:07+00:00     Total            $13.25 20140205
                                                   2014-12-25T17:18:55-07:00      2014-12-26T00:18:56+00:00     Total            $13.2120141225
                                                   2017-12-13T15:58:49-07:00      2017-12-13T22:58:51 +00:00    Paid             $13.2020171213
                                                   2020-04-25T09: 15:08-07:00     2020-04-25T16:15: 10+00:00    Total            $13.12 20200425
                                                   2021-08-23T17:25:00-07:00      2021-08-24 T00:25:02+00:00    Total            $13.05 20210823
                                                   2016-07-24 T15:36:07-07:00     2016-07-24 T22:36:09+00:00    PAID             $12.99 20160724
                                                   2016-10-30T10:54:24-07:00      2016-10-30T17:54:26+00:00     PAID             $12.99 20161030
                                                   2017-12-31 T22:41 :14-07:00    2018-01-01 T05:41 :17+00:00   Paid             $12.99 20171231
                                                   2016-07-17T18:17:26-07:00      2016-07-18T01 :17:27+00:00    PAID             $12.98 20160717
                                                   2016-06-07T14:35:49-07:00      2016-06-07T21 :35:50+00:00    PAID             $12.95 20160607
                                                   2017-09-13T13:26:59-07:00      2017-09-13T20:27:01 +00:00    Paid             $12.9520170913
                                                   2011-01-31T17:58:51-07:00      2011-01-31T16:58:52-08:00     Total            $12.9320110131
                                                   2014-01-02T21 :41 :15-07:00    2014-01-03T04:41 :16+00:00    Total            $12.82 20140102
                                                   2017-08-13T19:33:57-07:00      2017-08-14T02:34:00+00:00     PAID             $12.8120170813
                                                   2016-11-26T00:23:55-07:00      2016-11-26T07:23:56+00:00     PAID             $12.7020161126
                                                   2012-12-28T17:25:18-07:00      2012-12-28T16:25:19-08:00     Total            $12.64 20121228
                                                   2016-08-26T21 :53:03-07:00     2016-08-27T04:53:04+00:00     PAID             $12.64 20160826
                                                   2018-03-01T16:31 :55-07:00     2018-03-01 T23:31 :57+00:00   Paid             $12.54 20180301
                                                   2015-02-05T19:01 :00-07:00     2015-02-06T02:01 :02+00:00    Price            $12.50 20150205
                                                   2015-11-29T16:32:14-07:00      2015-11-29T23:32:15+00:00     PAID             $12.5020151129
                                                   2017-05-14T21 :48:29-07:00     2017-05-15T04:48:32+00:00     Paid             $12.50 20170514
                                                   2018-12-25T22: 14:30-07:00     2018-12-26T05:14:32+00:00     Total            $12.50 20181225
                                                   2016-08-04T14:29:09-07:00      2016-08-04T21:29:10+00:00     PAID             $12.46 20160804
                                                   2020-05-01T14:55:28-07:00      2020-05-01 T21 :55:30+00:00   Total            $12.45 20200501
                                                   2019-12-11 T00:54:59-07:00     2019-12-11T07:55:01 +00:00    Total            $12.43 20191211
                                                   2020-02-06T14:56:40-07:00      2020-02-06T21:56:41 +00:00    Total            $12.38 20200206
                                                   2015-07-02T11 :03:28-07:00     2015-07-02T18:03:29+00:00     PAID             $12.33 20150702
                                                   2016-02-11T17:38:35-07:00      2016-02-12T00:38:36+00:00     PAID             $12.00 20160211
                                                   2018-07-20T21 :18:16-07:00     2018-07-21 T04:18:18+00:00    Total            $12.00 20180720
                                                   2011-05-06T15:25:57-07:00      2011-05-06T15:25:57-07:00     Sale price       $11.9920110506
                                                   2014-03-13T17:26:07-07:00      2014-03-14 T00:26:08+00:00    Total            $11.99 20140313
                                                   2016-11-07T17:51 :50-07:00     2016-11-08T00:51 :51 +00:00   Paid             $11.9920161107
                                                   2017-11-29T15:00:13-07:00      2017-11-29T22:00:16+00:00     Paid             $11.9920171129
                                                   2018-01-05T23:49:49-07:00      2018-01-06T06:49:51 +00:00    Paid             $11.9920180105
                                                   2020-01-04 T12:26:57-07:00     2020-01-04 T19:26:59+00:00    Total            $11.99 20200104
                                                   2010-12-05T11 :34:31-07:00     2010-12-05T10:34:32-08:00     Total            $11.98 20101205
                                                   2017-03-11T21 :01 :14-07:00    2017-03-12T04:01 :15+00:00    UNKNOWN GBP       11.9420170311
                                                   2017-09-12T15:22:39-07:00      2017-09-12T22:22:41 +00:00    Paid             $11.9120170912
                                                   2015-06-12T16:42:54-07:00      2015-06-12T23:42:55+00:00     PAID             $11.9020150612
                                                   2016-10-02T19:35:45-07:00      2016-10-03T02:35:47+00:00     Paid             $11.8820161002


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                                       Sheet1
                                                   2018-03-01T14:36:43-07:00     2018-03-01 T21 :36:44+00:00   Paid          $11.7920180301
                                                   2020-05-01 T22:44:31-07:00    2020-05-02T05:44:33+00:00     Total         $11.54 20200501
                                                   2020-11-14T12:49:23-07:00     2020-11-14T19:49:25+00:00     Total         $11.50 20201114
                                                   2013-12-0H00: 19:55-07:00     2013-12-07T07:19:56+00:00     Total         $11.4720131207
                                                   2019-12-04T15:25:37-07:00     2019-12-04T22:25:38+00:00     Total         $11.4520191204
                                                   2018-02-06T02:59:35-07:00     2018-02-06T09:59:37 +00:00    PAID          $11.4420180206
                                                   2018-11-15T14:50:44-07:00     2018-11-15T21 :50:47+00:00    Total         $11.4020181115
                                                   2014-06-06T15:42:21-07:00     2014-06-06T22:42:23+00:00     Total         $11.11 20140606
                                                   2015-01-04T01 :30:36-07:00    2015-01-04 T08:30:37 +00:00   Total         $11.1020150104
                                                   2014-08-03T12:23:23-07:00     2014-08-03T19:23:24+00:00     Total         $11.04 20140803
                                                   2011-05-18T20:59:46-07:00     2011-05-18T20:59:48-07:00     Sale price    $11.0020110518
                                                   2015-01-25T14:44:57-07:00     2015-01-25T21 :44:58+00:00    Total         $10.99 20150125
                                                   2015-02-1 0T22:45:44-07:00    2015-02-11 T05:45:45+00:00    Total         $10.99 20150210
                                                   2018-10-17T22:35:34-07:00     2018-10-18T05:35:36+00:00     Total         $10.99 20181017
                                                   2019-02-07T17:35:54-07:00     2019-02-08T00:35:56+00:00     Total         $10.98 20190207
                                                   2017-10-08T16:35:46-07:00     2017-10-08T23:35:48+00:00     Paid          $10.93 20171008
                                                   2015-01-30T17:20:45-07:00     2015-01-31 T00:20:46+00:00    Total         $10.92 20150130
                                                   2017-01-22T20:32:52-07:00     2017-01-23T03:32:53+00:00     PAID          $10.90 20170122
                                                   2021-06-16T18:53:32-07:00     2021-06-17T01 :53:34+00:00    Total         $10.87 20210616
                                                   2020-01-01T15:41 :16-07:00    2020-01-01 T22:41 :18+00:00   Total         $10.79 20200101
                                                   2016-12-01 T20:16:33-07:00    2016-12-02T03:16:33+00:00     PAID          $10.78 20161201
                                                   2015-06-08T21 :17:20-07:00    2015-06-09T04:17:21 +00:00    PAID          $10.77 20150608
                                                   2015-01-08T15:11 :04-07:00    2015-01-08T22:11 :05+00:00    Total         $10.76 20150108
                                                   2015-01-08T15:08:28-07:00     2015-01-08T22:08:29+00:00     Price         $10.76 20150108
                                                   2016-12-23T16:19:27-07:00     2016-12-23T23:19:28+00:00     PAID          $10.72 20161223
                                                   2017-01-04T01 :05:07-07:00    2017-01-04T08:05:08+00:00     PAID          $10.70 20170104
                                                   2019-07-13T11 :50:31-07:00    2019-07-13T18:50:32+00:00     Total         $10.6920190713
                                                   2021-08-27T20:35:45-07:00     2021-08-28T03:35:4 7 +00:00   Total         $10.67 20210827
                                                   2021-08-21T16:31 :59-07:00    2021-08-21 T23:32:01 +00:00   Total         $10.65 20210821
                                                   2013-11-11T12:30:30-07:00     2013-11-11T19:30:31 +00:00    Total         $10.5320131111
                                                   2015-01-26T16:32:08-07:00     2015-01-26T23:32:10+00:00     Total         $10.53 20150126
                                                   2010-05-04T21 :51 :12-07:00   2010-05-04T21 :51 :13-07:00   Total         $10.49 20100504
                                                   2020-01-01 T09:43:44-07:00    2020-01-01T16:43:45+00:00     Total         $10.49 20200101
                                                   2020-01-01 T11 :45:33-07:00   2020-01-01T18:45:34+00:00     Total         $10.49 20200101
                                                   2020-02-02T02:26:50-07:00     2020-02-02T09:26:51 +00:00    Total         $10.49 20200202
                                                   2014-11-28T11 :36:29-07:00    2014-11-28T18:36:29+00:00     Total         $10.3920141128
                                                   2017-03-06T16:37:08-07:00     2017-03-06T23:37:09+00:00     Paid          $10.39 20170306
                                                   2018-04-11T16:46:25-07:00     2018-04-11 T23:46:26+00:00    PAID          $10.3820180411
                                                   2015-10-23T23:05:11-07:00     2015-10-24T06:05:12+00:00     PAID          $10.37 20151024
                                                   2016-05-13T18:28:00-07:00     2016-05-14T01 :28:01 +00:00   PAID          $10.3520160513
                                                   2015-08-22T03:02:03-07:00     2015-08-22T10:02:04+00:00     PAID          $10.30 20150822
                                                   2013-11-21 T21 :46:46-07:00   2013-11-22T04:46:47+00:00     Total         $10.2520131121
                                                   2014-10-24 T13:08:28-07:00    2014-10-24 T20:08:29+00:00    Total         $10.25 20141024
                                                   2018-10-23T22:38:04-07:00     2018-10-24T05:38:06+00:00     Total         $10.20 20181023
                                                   2018-04-26T20:51 :19-07:00    2018-04-27T03:51 :22+00:00    Paid          $10.1520180426
                                                   2014-03-25T20:07:06-07:00     2014-03-26T03:07:07+00:00     Total         $10.00 20140325
                                                   2017-01-12T15:19:18-07:00     2017-01-12T22:19:19+00:00     Paid          $10.00 20170112
                                                   2018-10-10T18:52:15-07:00     2018-10-11T01 :52:17+00:00    Total         $10.00 20181010
                                                   2010-12-09T18:59:47-07:00     2010-12-09T18:00:12-08:00     Sale price     $9.99 20101209
                                                   2013-10-14T22:05:18-07:00     2013-10-15T05:05:19+00:00     UNKNOWN GBP     9.99 20131014
                                                   2013-10-29T03:06:32-07:00     2013-10-29T10:06:33+00:00     Total          $9.99 20131029
                                                   2014-03-14 T19:24:29-07:00    2014-03-15T02:24:30+00:00     Total          $9.99 20140314
                                                   2016-06-30T13:44:42-07:00     2016-06-30T20:44:44+00:00     won            $9.99 20160630
                                                   2016-08-04T09:10:20-07:00     2016-08-04T16:10:21 +00:00    Paid           $9.99 20160804
                                                   2016-11-27T20:02:36-07:00     2016-11-28T03:02:37+00:00     PAID           $9.9920161127
                                                   2017-02-20T17:42:08-07:00     2017-02-21 T00:42:09+00:00    won            $9.99 20170220
                                                   2018-01-20T11 :42:58-07:00    2018-01-20T18:43:01 +00:00    Paid           $9.99 20180120
                                                   2018-02-06T17: 17:05-07:00    2018-02-07T00:17:07 +00:00    won            $9.99 20180206
                                                   2018-02-18T08:43:38-07:00     2018-02-18T15:43:40+00:00     Paid           $9.99 20180218
                                                   2018-11-14T22:40:57-07:00     2018-11-15T05:40:58+00:00     Total          $9.9920181114
                                                   2019-08-22T22:31 :21-07:00    2019-08-23T05:31 :23+00:00    Total          $9.99 20190822
                                                   2020-01-01 T08:45:06-07:00    2020-01-01T15:45:08+00:00     won            $9.99 20200101
                                                   2011-04-10T07:21 :41-07:00    2011-04-10T07:21 :42-07:00    Total          $9.9820110410
                                                   2017-05-31T18:30:35-07:00     2017-06-01 T01 :30:37+00:00   Paid           $9.98 20170531
                                                   2015-06-09T19:27:34-07:00     2015-06-1 0T02:27:35+00:00    PAID           $9.96 20150609
                                                   2013-11-16T17:36:02-07:00     2013-11-17T00:36:03+00:00     Total          $9.8220131116
                                                   2014-11-10T13:42:34-07:00     2014-11-10T20:42:35+00:00     Total          $9.8220141110
                                                   2015-09-14 T19:22:20-07:00    2015-09-15T02:22:20+00:00     PAID           $9.80 20150914


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                                                   2017-10-17T13:25:32-07:00      2017-10-17T20:25:34+00:00     Paid          $9.80 20171017
                                                   2019-03-31 T22:44:23-07:00     2019-04-01 T05:44:26+00:00    Total         $9.80 20190331
                                                   2014-04-05T19:09:37-07:00      2014-04-06T02:09:39+00:00     Total         $9.60 20140405
                                                   2016-09-25T21 :02:20-07:00     2016-09-26T04:02:21 +00:00    PAID          $9.59 20160925
                                                   2016-10-06T18:39:54-07:00      2016-10-07T01 :39:55+00:00    Paid          $9.56 20161006
                                                   2017-05-14T12:26:44-07:00      2017-05-14T19:26:45+00:00     Paid          $9.50 20170514
                                                   2017-05-31T21 :11 :52-07:00    2017-06-01 T04:11 :54+00:00   Paid          $9.50 20170531
                                                   2017-01-22T20:48:09-07:00      2017-01-23T03:48:10+00:00     PAID          $9.47 20170122
                                                   2014-04-11T18:20:38-07:00      2014-04-12T01 :20:39+00:00    Total         $9.33 20140411
                                                   2016-02-18T19:53:19-07:00      2016-02-19T02:53:20+00:00     PAID          $9.29 20160218
                                                   2016-10-04T15:11 :44-07:00     2016-10-04T22:11 :45+00:00    PAID          $9.1520161004
                                                   2019-03-01T12:52:02-07:00      2019-03-01T19:52:04+00:00     Total         $9.05 20190301
                                                   2019-03-01T12:52:04-07:00      2019-03-01T19:52:05+00:00     Total         $9.05 20190301
                                                   2018-04-02T19: 12:51-07:00     2018-04-03T02:12:53+00:00     Total         $9.01 20180402
                                                   2018-04-03T15:58:30-07:00      2018-04-03T22:58:33+00:00     Paid          $9.01 20180403
                                                   2016-08-11T18:01 :13-07:00     2016-08-12T01 :01 :14+00:00   PAID          $9.00 20160811
                                                   2012-08-31 T14:31 :35-07:00    2012-08-31T14:31 :41-07:00    Total         $8.99 20120831
                                                   2013-08-11T18:03:50-07:00      2013-08-12T01 :03:51 +00:00   Total         $8.99 20130811
                                                   2013-11-30T01 :00:19-07:00     2013-11-30T00:04:59-08:00     Total         $8.9920131130
                                                   2015-01-30T12:36:09-07:00      2015-01-30T19:36:10+00:00     Total         $8.9920150130
                                                   2015-02-07T14:11 :24-07:00     2015-02-07T21 :11 :25+00:00   Total         $8.99 20150207
                                                   2016-01-20T19:34:02-07:00      2016-01-21 T02:34:03+00:00    PAID          $8.99 20160120
                                                   2016-09-17T21 :27:20-07:00     2016-09-18T04:27:21 +00:00    PAID          $8.99 20160917
                                                   2016-10-02T19:28:39-07:00      2016-10-03T02:28:40+00:00     Paid          $8.99 20161002
                                                                                                                                     20161004
                                                   2012-12-17T20:47:05-07:00      2012-12-17T19:47:06-08:00     Total         $8.98 20121217
                                                   2015-04-30T12:03:38-07:00      2015-04-30T19:03:39+00:00     PAID          $8.94 20150430
                                                   2016-04-13T14:32:51-07:00      2016-04-13T21 :32:53+00:00    PAID          $8.8820160413
                                                   2019-03-25T00:49:36-07:00      2019-03-25T07:49:38+00:00     Total         $8.87 20190325
                                                   2013-06-03T11 :09:38-07:00     2013-06-03T18:09:39+00:00     Total         $8.79 20130603
                                                   2021-06-11 T00:08:13-07:00     2021-06-11 T07:08:15+00:00    Total         $8.70 20210611
                                                   2021-08-27T19:53:32-07:00      2021-08-28T02:53:33+00:00     Total         $8.70 20210827
                                                   2016-10-21T15:56:53-07:00      2016-10-21 T22:56:54+00:00    PAID          $8.6520161021
                                                   2018-01-07T20:50: 13-07:00     2018-01-08T03:50:16+00:00     Paid          $8.58 20180107
                                                   2014-06-24 T20:59: 10-07:00    2014-06-25T03:59: 12+00:00    Total         $8.50 20140624
                                                   2017-03-14T00:01 :39-07:00     2017-03-14T07:01 :40+00:00    Paid          $8.50 20170314
                                                   2017-10-17T14:00:53-07:00      2017-10-17T21 :00:55+00:00    Paid          $8.50 20171017
                                                   2019-03-14T00:22:18-07:00      2019-03-14 T07:22:20+00:00    Total         $8.43 20190314
                                                   2019-03-14 T00:25:02-07:00     2019-03-14 T07:25:03+00:00    Total         $8.43 20190314
                                                   2020-11-19T03:26:20-07:00      2020-11-19T10:26:22+00:00     Total         $8.38 20201119
                                                   2017-10-02T22:42:31-07:00      2017-10-03T05:42:33+00:00     Paid          $8.35 20171002
                                                   2017-01-09T07:41 :50-07:00     2017-01-09T14:41 :52+00:00    PAID          $8.27 20170109
                                                   2012-11-17T18:36:19-07:00      2012-11-17T17:37:50-08:00     Total         $8.2520121117
                                                   2014-06-06T15:21 :24-07:00     2014-06-06T22:21 :25+00:00    Total         $8.24 20140606
                                                   2017-02-18T00:01 :07-07:00     2017-02-18T07:01 :08+00:00    Paid          $8.24 20170218
                                                   2019-07-25T14:35:48-07:00      2019-07-25T21 :36:01 +00:00   Total         $8.08 20190725
                                                   2020-02-06T15:09:54-07:00      2020-02-06T22:09:55+00:00     Total         $8.05 20200206
                                                   2016-12-04 T22:20:22-07:00     2016-12-05T05:20:23+00:00     PAID          $8.02 20161204
                                                   2018-10-23T14:00:19-07:00      2018-10-23T21 :00:21 +00:00   Total         $8.02 20181023
                                                   2017-01-28T14:34:18-07:00      2017-01-28T21 :34:19+00:00    PAID          $8.00 20170128
                                                   2017-06-04T14:51 :23-07:00     2017-06-04T21 :51 :33+00:00   Paid          $8.00 20170604
                                                   2010-05-24 T18:30:04-07:00     2010-05-24 T18:30:05-07:00    Sale price    $7.99 20100524
                                                   2014-01-02T19:42:46-07:00      2014-01-02T18:42:47-08:00     Total         $7.99 20140102
                                                   2014-06-04 T18:08:58-07:00     2014-06-05T01 :08:59+00:00    Total         $7.99 20140604
                                                   2015-04-26T20:12:22-07:00      2015-04-27T03:12:23+00:00     PAID          $7.99 20150426
                                                   2015-07-02T09:14:45-07:00      2015-07-02T16:14:46+00:00     won           $7.99 20150702
                                                   2016-02-19T18:37:31-07:00      2016-02-20T01 :37:32+00:00    PAID          $7.99 20160219
                                                   2016-09-02T20: 13:36-07:00     2016-09-03T03:13:37 +00:00    PAID          $7.99 20160902
                                                   2016-12-01T17:04:10-07:00      2016-12-02T00:04:11 +00:00    PAID          $7.99 20161201
                                                   2015-08-22T21 :29:27-07:00     2015-08-23T04:29:28+00:00     PAID          $7.98 20150822
                                                   2016-11-14T22:21 :14-07:00     2016-11-15T05:21 :15+00:00    PAID          $7.9520161114
                                                   2017-06-30T19:02:20-07:00      2017-07-01 T02:02:22+00:00    Paid          $7.9520170630
                                                   2014-10-08T14:08:31-07:00      2014-10-08T21 :08:32+00:00    Total         $7.94 20141008
                                                   2017-01-27T12:17:53-07:00      2017-01-27T19:17:54+00:00     PAID          $7.94 20170127
                                                   2014-11-28T20:03:45-07:00      2014-11-29T03:03:46+00:00     Total         $7.9320141128
                                                   2017-12-07T09:20:52-07:00      2017-12-07T16:20:54+00:00     Paid          $7.90 20171207
                                                   2018-05-01 T21 :01 :00-07:00   2018-05-02T04:01 :03+00:00    Paid          $7 .89 20180501
                                                   2015-05-17T15:04:48-07:00      2015-05-17T22:04:49+00:00     PAID          $7 .88 20150517


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                                                                     2017-04-11 T22:44:58+00:00    Paid          $7.88 20170411
                                                                     2019-08-03T23:37:02+00:00     won           $7.87 20190803
                                                                     2019-12-05T01 :09:15+00:00    Total         $7.87 20191204
                                                                     2019-03-07T08:07:39+00:00     Total         $7.78 20190307
                                                                     2017-12-07T16:17:19+00:00     Paid          $7.75 20171207
                                                                     2016-09-10T22:33:49+00:00     PAID          $7.74 20160910
                                                                     2019-03-28T05:07:46+00:00     Total         $7.67 20190327
                                                                     2016-10-05T00:50:38+00:00     PAID          $7.50 20161004
                                                                     2018-04-27T16:38:54+00:00     Paid          $7.50 20180427
                                                                     2015-09-01 T22:14:33+00:00    PAID          $7.47 20150901
                                                                     2016-06-10T00:45:10+00:00     PAID          $7.47 20160609
                                                                     2018-03-09T04:07:24+00:00     Paid          $7.46 20180308

                                                        ;   .,   I
                                                                     2016-08-27T10:23:04+00:00
                                                                      I              ;   .   I
                                                                                                   PAID          $7.42 20160827
                                                                                                                         20161121
                                                                     2020-09-14 T19:42:24+00:00    Total         $7.24 20200914
                                                                     2016-02-24 T03:55:40+00:00    PAID          $7.20 20160223
                                                                     2017-05-21 T07:38:31 +00:00   Paid          $7.1820170521
                                                                     2014-12-16T00:02:04+00:00     PAID          $7.1220141215
                                                                     2014-08-03T19:13:56+00:00     Total         $7.10 20140803
                                                                     2015-06-09T03:44:33+00:00     PAID          $7 .10 20150608
                                                                     2016-11-22T05:36:56+00:00     PAID          $7.0920161121
                                                                     2015-07-01 T02:24:00+00:00    UNKNOWN       $7.07 20150630
                                                                     2010-10-17T15:41 :43-07:00    Total         $7.00 20101017
                                                                     2015-01-18T22:13:28+00:00     Total         $7.00 20150118
                                                                     2018-01-24 T09:20:33+00:00    Paid          $7.00 20180124
                                                                     2015-02-08T01 :07:04+00:00    Total         $6.99 20150207
                                                                     2016-10-08T22:20:26+00:00                   $6.99 20161008
                                                                                                                 $6.99 20161008
                                                                                                                         20170504
                                                                                                                 $6.99 20180531
                                                                                                                         20210225
                                                                                                                         20180411
                                                                                                                 $6.95 20140802
                                                                                                   Total         $6.9520150206
                                                                     2015-06-09T04:26:31 +00:00 PAID             $6.95 20150608
                                                                     2018-01-30T06:43:56+00:00 UNKNOWN           $6.95 20180129
                                                                      I                                          . • : : 20150823
                                                                     2016-04-13T00:06:54+00:00     PAID          $6.8820160412
                                                                     2017-09-15T22:01 :20+00:00    Paid          $6.8620170915
                                                                     2014-10-31 T02:22:45+00:00    Price         $6.78 20141030
                                                                     2015-01-29T06:12:43+00:00     Total         $6.74 20150128
                                                                     2018-06-02T06:12:52+00:00     Paid          $6.65 20180602
                                                                     2016-08-04T21 :00:52+00:00    Paid          $6.64 20160804
                                                                     2016-02-24 T03:32: 16+00:00   PAID          $6.60 20160223
                                                                     2015-09-06T03:03: 16+00:00    PAID          $6.52 20150905
                                                                     2015-11-23T22:55:37+00:00     PAID          $6.5020151123
                                                                     2016-09-23T20:00:32+00:00     PAID          $6.49 20160923
                                                                     2013-12-06T23:10:00-08:00     Total         $6.46 20131207
                                                                     2017-12-06T00:03:19+00:00     Paid          $6.46 20171205
                                                                     2013-03-28T03:37:41 +00:00    Total         $6.44 20130327
                                                                     2018-11-22T17:43:34+00:00     Total         $6.3320181122
                                                                     2014-04-05T00:33:13+00:00     Total         $6.30 20140404
                                                                     2015-08-15T07:42:56+00:00     PAID          $6.3020150815
                                                                     2018-10-18T05:37:41 +00:00    Total         $6.30 20181017
                                                                     2019-12-12T04:33:24+00:00     Total         $6.29 20191211
                                                                     2017-09-09T10:47:52+00:00     Paid          $6.28 20170909
                                                                     2020-04-20T03:28:31 +00:00    Total         $6.27 20200419
                                                                     2016-10-13T00:01 :51 +00:00   PAID          $6.26 20161012
                                                                     2014-03-17T13:31 :54+00:00    Total         $6.24 20140317
                                                                     2015-01-07T18:22:21 +00:00    Total         $6.1320150107
                                                                     2016-09-02T01 :41 :13+00:00   PAID          $6.1020160901
                                                                     2016-10-20T17:42:23+00:00     PAID          $6.1020161020
                                                                     2013-10-15T05:01 :45+00:00    Total         $6.00 20131014
                                                                     2015-10-24T23:38:28+00:00     PAID          $5.99 20151024
                                                                     2016-11-06T19:59:23+00:00     PAID          $5.9920161106
                                                                     2016-12-02T06:06:19+00:00     PAID          $5.99 20161201
                                                                     2018-10-11 T04:53:17+00:00    Total         $5.99 20181010
                                                                     2014-01-13T18:50:58+00:00     Total         $5.98 20140113


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                                       Sheet1
                                                   2015-02-03T00:03:45-07:00      2015-02-03T07:03:46+00:00     Total         $5.98 20150203
                                                   2014-01-19T20:37:17-07:00      2014-01-19T19:37:18-08:00     Total         $5.97 20140119
                                                   2013-11-06T18:20:09-07:00      2013-11-07T01 :20:10+00:00    Total         $5.9620131106
                                                   2015-02-11 T00:24:30-07:00     2015-02-11 T07:24:31 +00:00   Total         $5.96 20150211
                                                   2016-08-04T14:54:35-07:00      2016-08-04T21 :54:36+00:00    PAID          $5.95 20160804
                                                   2016-07-29T10:51 :34-07:00     2016-07-29T17:51 :36+00:00    PAID          $5.89 20160729
                                                   2014-01-07T22:36:26-07:00      2014-01-08T05:36:27 +00:00    Total         $5.88 20140107
                                                   2013-11-16T16:34:05-07:00      2013-11-16T15:34:06-08:00     Total         $5.8720131116
                                                   2013-06-03T11 :33:01-07:00     2013-06-03T11 :33:44-07:00    Total         $5.85 20130603
                                                   2016-10-21T19:17:55-07:00      2016-10-22T02:17:56+00:00     PAID          $5.77 20161021
                                                   2014-05-03T15:05: 13-07:00     2014-05-03T22:05: 14+00:00    Total         $5.68 20140503
                                                   2014-12-28T15:46:37-07:00      2014-12-28T22:46:38+00:00     Total         $5.65 20141228
                                                   2014-04-10T20:21 :31-07:00     2014-04-11 T03:21 :32+00:00   Total         $5.62 20140410
                                                   2015-06-13T19:54:41-07:00      2015-06-14T02:54:42+00:00     PAID          $5.5520150613
                                                   2016-04-13T11 :23:08-07:00     2016-04-13T18:23:09+00:00     PAID          $5.5420160413
                                                   2018-03-30T18:39:09-07:00      2018-03-31T01 :39:11 +00:00   won           $5.51 20180330

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                                                   2013-10-26T00:50:05-07:00
                                                                        : I   I
                                                                                  2013-10-26T07:50:07+00:00
                                                                                   I
                                                                                                                Total         $5.50 20131026
                                                                                                                                   I 20160727
                                                   2016-11-21 T22:43:14-07:00     2016-11-22T05:43:15+00:00     PAID          $5.4420161121
                                                   2016-01-20T19:40:36-07:00      2016-01-21 T02:40:36+00:00    PAID          $5.39 20160120
                                                   2021-10-18T21 :09:20-07:00     2021-10-19T04:09:24+00:00     Total         $5.3920211018
                                                   2020-11-14T09:15:46-07:00      2020-11-14T16:15:48+00:00     Total         $5.36 20201114
                                                   2017-03-14T17:07:53-07:00      2017-03-15T00:07:54+00:00     Paid          $5.29 20170314
                                                   2014-08-06T22: 12: 12-07:00    2014-08-07T05:12: 14+00:00    Total         $5.28 20140806
                                                   2012-12-14T21 :40:51-07:00     2012-12-14T20:40:52-08:00     UNKNOWN GBP    5.24 20121214
                                                   2018-03-16T17:41 :13-07:00     2018-03-17T00:41 :15+00:00    Paid          $5.24 20180316
                                                   2020-04-20T00:31 :32-07:00     2020-04-20T07:31 :34+00:00    Total         $5.23 20200420
                                                   2015-03-26T21 :31 :39-07:00    2015-03-27T04:31 :40+00:00    PAID          $5.22 20150326
                                                   2015-03-26T20:48:45-07:00      2015-03-27T03:48:46+00:00     PAID          $5.1820150326
                                                   2015-03-29T21 :04:36-07:00     2015-03-30T04:04:37 +00:00    PAID          $5.1820150329
                                                   2018-02-11 T00:14:47-07:00     2018-02-11 T07:14:49+00:00    Paid          $5.1620180211
                                                   2018-11-13T23:28:32-07:00      2018-11-14T06:28:34+00:00     Total         $5.0120181113
                                                   2020-05-19T23:25:41-07:00      2020-05-20T06:25:42+00:00     Total         $5.00 20200520
                                                   2021-06-06T13:03:13-07:00      2021-06-06T20:03:15+00:00     Total         $5.00 20210606
                                                   2013-10-29T18:47:39-07:00      2013-10-30T01 :47:40+00:00    Total         $4.99 20131029
                                                   2015-01-30T11 :12:17-07:00     2015-01-30T18:12:18+00:00     Price         $4.9920150130
                                                   2017-09-12T15:18:12-07:00      2017-09-12T22:18:14+00:00     won           $4.99 20170912
                                                   2017-10-13T16:08:12-07:00      2017-10-13T23:08:14+00:00     Paid          $4.9920171013
                                                   2018-08-30T00:01 :27-07:00     2018-08-30T07:01 :31 +00:00   Total         $4.99 20180830
                                                   2017-09-12T22:21 :04-07:00     2017-09-13T05:21 :07+00:00    Paid          $4.98 20170912
                                                   2018-04-11T17:43:25-07:00      2018-04-12T00:43:27 +00:00    won           $4.9820180411
                                                                8:66:                          8:66·                                 20110704
                                                   2013-10-23T13:13:26-07:00      2013-10-23T13:13:28-07:00     Total         $4.96 20131023
                                                   2018-03-07T09:03:31-07:00      2018-03-07T16:03:33+00:00     PAID          $4.96 20180307
                                                   Z014-07-09T16:01 :41-07:00     2014-07-09T23:01 :41 +00:00   Total         $4.95 20140709
                                                   2015-02-06T19:07: 16-07:00     2015-02-07T02:07: 17 +00:00   Total         $4.95 20150206
                                                   2015-02-06T14:24: 15-07:00     2015-02-06T21 :24:16+00:00    Total         $4.95 20150206
                                                   2016-04-19T16:55:43-07:00      2016-04-19T23:55:44+00:00     PAID          $4.9520160419
                                                   2016-11-06T16:20:06-07:00      2016-11-06T23:20:07+00:00     PAID          $4.9520161106
                                                   2015-08-03T20:23:26-07:00      2015-08-04 T03:23:27 +00:00   PAID          $4.94 20150803
                                                   2013-09-07T13:04:50-07:00      2013-09-07T13:04:51-07:00     Total         $4.90 20130907
                                                   2021-10-18T21 :21 :39-07:00    2021-10-19T04:21 :43+00:00    Total         $4.8920211018
                                                   2016-10-21T16:42:21-07:00      2016-10-21 T23:42:21 +00:00   PAID          $4.88 20161021
                                                   2016-08-04T13:41 :25-07:00     2016-08-04T20:41 :26+00:00    PAID          $4.78 20160804
                                                   2020-01-03T06:00:28-07:00      2020-01-03T13:00:29+00:00     UNKNOWN       $4.78 20200103
                                                   2016-04-25T14:24: 18-07:00     2016-04-25T21 :24:19+00:00    PAID          $4.76 20160425
                                                   2017-02-28T03:33:45-07:00      2017-02-28T10:33:47+00:00     Paid          $4.76 20170228
                                                   2017-09-09T04:27:57-07:00      2017-09-09T11 :28:02+00:00    Paid          $4.74 20170909
                                                   2020-03-20T17:25:35-07:00      2020-03-21 T00:25:37 +00:00   Total         $4.72 20200320
                                                   2015-06-08T20:47:26-07:00      2015-06-09T03:47:27 +00:00    PAID          $4.70 20150608
                                                   2019-01-02T22:02: 13-07:00     2019-01-03T05:02:16+00:00     Total         $4.68 20190102
                                                   2019-03-27T22:40:30-07:00      2019-03-28T05:40:32+00:00     Total         $4.66 20190327
                                                   2017-06-02T18:49:21-07:00      2017-06-03T01 :49:23+00:00    Paid          $4.65 20170602
                                                   2016-08-04T14:15:11-07:00      2016-08-04T21 :15:12+00:00    PAID          $4.64 20160804
                                                   2017-06-10T18:16:24-07:00      2017-06-11T01 :16:26+00:00    Paid          $4.63 20170610
                                                   2020-02-03T14:10:39-07:00      2020-02-03T21 :10:41 +00:00   Total         $4.61 20200203
                                                   2016-04-19T16:51 :37-07:00     2016-04-19T23:51 :38+00:00    PAID          $4.6020160419
                                                   2014-03-17T06:54:55-07:00      2014-03-17T14:08:07 +00:00    Total         $4.58 20140317


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                                                   2020-02-02T13: 12:00-07:00   2020-02-02T20:12:01 +00:00    Total         $4.55 20200202
                                                   2016-02-18T19:53:12-07:00    2016-02-19T02:53:13+00:00     Paid          $4.54 20160218
                                                   2014-12-27T15:31 :58-07:00   2014-12-27T22:31 :58+00:00    Total         $4.51 20141227
                                                   2016-11-21 T22:24:12-07:00   2016-11-22T05:24:14+00:00     PAID          $4.5120161121
                                                   2016-10-18T16:03:17-07:00    2016-10-18T23:03:18+00:00     PAID          $4.49 20161018
                                                   2010-10-26T18:12:06-07:00    2010-10-26T18:12:07-07:00     Total         $4.48 20101026
                                                   2018-06-24 T17:53:59-07:00   2018-06-25T00:54:02+00:00     Total         $4.42 20180624
                                                   2016-08-20T15:39:36-07:00    2016-08-20T22:39:37 +00:00    PAID          $4.40 20160820
                                                   2018-09-20T22:11 :51-07:00   2018-09-21 T05:11 :56+00:00   Total         $4.38 20180920
                                                   2017-01-03T05:33:53-07:00    2017-01-03T12:33:55+00:00     PAID          $4.35 20170103
                                                   2017-02-20T19:25:55-07:00    2017-02-21 T02:26:02+00:00    Paid          $4.3520170220
                                                   2019-03-31 T23:00:38-07:00   2019-04-01 T06:00:41 +00:00   Total         $4.31 20190401
                                                   2018-04-12T17:06:28-07:00    2018-04-13T00:06:29+00:00     Paid          $4.2920180412
                                                   2016-04-23T18:06:42-07:00    2016-04-24T01 :06:43+00:00    PAID          $4.26 20160423
                                                   2017-09-08T18: 10:31-07:00   2017-09-09T01 :10:34+00:00    Paid          $4.26 20170908
                                                   2015-06-13T18:05:06-07:00    2015-06-14T01 :05:07+00:00    PAID          $4.2420150613
                                                   2017-06-19T19:46:13-07:00    2017-06-20T02:46:15+00:00     Paid          $4.21 20170619
                                                   2016-10-09T23:00:37-07:00    2016-10-10T06:00:38+00:00     Paid          $4.20 20161010
                                                   2016-10-21T17:06:18-07:00    2016-10-22T00:06:19+00:00     PAID          $4.1620161021
                                                   2019-04-01T19:05:45-07:00    2019-04-02T02:05:4 7 +00:00   Total         $4.1620190401
                                                   2018-07-28T18:49:48-07:00    2018-07-29T01 :49:51 +00:00   Total         $4.1420180728
                                                   2015-06-08T20:38:41-07:00    2015-06-09T03:38:42+00:00     PAID          $4.1020150608
                                                   2019-08-27T19:41 :27-07:00   2019-08-28T02:41 :30+00:00    Total         $4.04 20190827
                                                   2017-02-28T13:47:03-07:00    2017-02-28T20:47:05+00:00     Paid          $4.01 20170228
                                                   2011-02-11 T22:14:29-07:00   2011-02-11T21 :14:31-08:00    Sale price    $4.0020110211
                                                   2018-07-15T13:11 :21-07:00   2018-07-15T20:11 :22+00:00    Paid          $4.0020180715
                                                   2015-02-16T15:41 :40-07:00   2015-02-16T22:41 :41 +00:00   Total         $3.99 20150216
                                                   2017-02-10T19:08:30-07:00    2017-02-11T02:08:31 +00:00    Paid          $3.99 20170210
                                                   2017-09-05T20:22:08-07:00    2017-09-06T03:22:10+00:00     Paid          $3.99 20170905
                                                   2017-10-17T19:30:53-07:00    2017-10-18T02:30:56+00:00     Paid          $3.99 20171017
                                                                                                                                  20180328
                                                   2018-09-22T02:04:29-07:00    2018-09-22T09:04:33+00:00     Total         $3.99 20180922
                                                   2017-09-12T18:07:09-07:00    2017-09-13T01 :07:11 +00:00   Paid          $3.98 20170912
                                                   2017-02-07T17:48:07-07:00    2017-02-08T00:48:08+00:00     Paid          $3.95 20170207
                                                   2020-11-20T17:41 :02-07:00   2020-11-21 T00:41 :04+00:00   Total         $3.93 20201120
                                                   2016-08-27T03:02:43-07:00    2016-08-27T10:02:44+00:00     PAID          $3.92 20160827
                                                   2020-03-20T17: 19:38-07:00   2020-03-21 T00:19:40+00:00    Total         $3.91 20200320
                                                   2016-08-04 T14:43:41-07:00   2016-08-04T21 :43:42+00:00    PAID          $3.88 20160804
                                                   2014-09-06T13:01 :59-07:00   2014-09-06T20:02:00+00:00     Total         $3.85 20140906
                                                   2014-11-09T16:13:40-07:00    2014-11-09T23:13:40+00:00     Price         $3.8320141109
                                                   2016-04-16T15:14:22-07:00    2016-04-16T22:14:22+00:00     PAID          $3.8320160416
                                                   2019-12-07T16:57:25-07:00    2019-12-07T23:57:27+00:00     Total         $3.83 20191207
                                                   2017-08-11T16:16:19-07:00    2017-08-11T23:16:21 +00:00    Paid          $3.81 20170811
                                                   2019-03-30T13:34:25-07:00    2019-03-30T20:34:27 +00:00    Total         $3.74 20190330
                                                   2018-08-28T19:25:00-07:00    2018-08-29T02:25:04+00:00     Total         $3.71 20180828
                                                   2018-07-09T21 :18:01-07:00   2018-07-1 0T04:18:03+00:00    Total         $3.70 20180709
                                                   2020-02-19T02: 19:46-07:00   2020-02-19T09:19:46+00:00     Total         $3.70 20200219
                                                   2016-05-11T11 :56:14-07:00   2016-05-11T18:56:15+00:00     PAID          $3.68 20160511
                                                   2014-03-25T17:09:53-07:00    2014-03-26T00:09:54+00:00     Total         $3.66 20140325
                                                   2014-10-26T22:56:53-07:00    2014-10-27T05:56:54+00:00     Total         $3.64 20141026
                                                   2015-05-24 T19:30:07-07:00   2015-05-25T02:30:09+00:00     PAID          $3.64 20150524
                                                   2018-10-13T14:22:13-07:00    2018-10-13T21 :22:15+00:00    Total         $3.6120181013
                                                   2015-02-08T20:02:35-07:00    2015-02-09T03:02:37 +00:00    Total         $3.58 20150208
                                                   2014-11-16T02:38:12-07:00    2014-11-16T09:38:13+00:00     Total         $3.5620141116
                                                   2015-09-05T16:42:03-07:00    2015-09-05T23:42:04+00:00     PAID          $3.51 20150905
                                                   2014-12-27T15:46:06-07:00    2014-12-27T22:46:07 +00:00    Total         $3.4520141227
                                                   2018-04-28T14:25:55-07:00    2018-04-28T21 :25:58+00:00    Paid          $3.39 20180428
                                                   2013-04-30T14:26:34-07:00    2013-04-30T21 :26:35+00:00    Total         $3.38 20130430
                                                   2013-11-02T23:12:40-07:00    2013-11-03T06:12:41 +00:00    Total         $3.3120131103
                                                   2019-08-30T23:35:20-07:00    2019-08-31 T06:35:23+00:00    Total         $3.31 20190831
                                                   2017-11-26T19:59:05-07:00    2017-11-27T02:59:07+00:00     Paid          $3.2920171126
                                                   2009-12-23T05:47:06-07:00    2009-12-23T04:47:06-08:00     Total         $3.28 20091223
                                                   2018-06-25T00:44:50-07:00    2018-06-25T07:44:52+00:00     Total         $3.25 20180625
                                                   2018-04-27T10:13:43-07:00    2018-04-27T17:13:45+00:00     Paid          $3.22 20180427
                                                   2016-10-12T16:41 :15-07:00   2016-10-12T23:41 :16+00:00    PAID          $3.1620161012
                                                   2017-06-29T20:11 :15-07:00   2017-06-30T03:11 :18+00:00    Paid          $3.1520170629
                                                   2015-01-07T10:59:46-07:00    2015-01-07T17:59:48+00:00     Total         $3.1420150107
                                                   2020-03-20T20:38: 17-07:00   2020-03-21 T03:38: 19+00:00   Total         $3.11 20200320


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                                                             2016-12-01 T08:05:30+00:00    PAID          $3.10 20161201
                                                             2019-07-30T20:32:28+00:00     Total         $3.04 20190730
                                                             2018-07-27T18:05:26+00:00     Total         $3.03 20180727
                                                             2014-12-05T21 :30:41 +00:00   Total         $3.00 20141205
                                                             2017-02-11 T02:45:30+00:00    Paid          $3.00 20170210
                                                             2018-07-20T01 :05:24+00:00    won           $3.00 20180719
                                                             2018-07-20T01 :27:40+00:00    Total         $3.00 20180719
                                                             2018-12-16T04:41 :12+00:00    Total         $3.00 20181215
                                                             2014-06-25T03:23:41 +00:00    Total         $2.99 20140624
                                                             2014,1                                      $2. 20141229
                                                             2015-06-21 T02:14:13+00:00    PAID          $2.99 20150620
                                                             2016-10-25T19:11 :26+00:00    PAID          $2.99 20161025
                                                             2016-07-09T04:27:36+00:00     PAID          $2.98 20160708
                                                             2016-10-16T06:42:57+00:00     PAID          $2.98 20161016
                                                             2016-11-28T03:24:13+00:00     PAID          $2.9820161127
                                                             2016-09-02T01 :24:40+00:00    PAID          $2.95 20160901
                                                             2018-10-23T03:11 :37+00:00    Total         $2.9520181022
                                                             2019-03-28T05:02:53+00:00     Total         $2.95 20190327
                                                             2018-03-30T01 :38:52+00:00    Paid          $2.92 20180329
                                                             2017-03-08T00:35:55+00:00     Paid          $2.90 20170307
                                                             2018-01-31 T05:00:45+00:00    Paid          $2.8920180130
                                                             2013-02-04T22:11 :29+00:00    Total         $2.88 20130204
                                                             2018-05-05T01 :54:53+00:00    Paid          $2.88 20180504
                                                             2019-04-05T06:50:08+00:00     Total         $2.88 20190405
                                                             2016-02-24 T03:57:52+00:00    UNKNOWN       $2.83 20160223
                                                             2017-01-19T05:40:59+00:00     PAID          $2.83 20170118
                                                             2015-08-22T03:07:03+00:00     PAID          $2.79 20150821
                                                             2016-11-05T19:44:59+00:00     PAID          $2.7920161105
                                                             2015-02-08T00:52: 10+00:00    Total         $2.78 20150207
                                                             2016-10-25T19:06:52+00:00     PAID          $2.78 20161025
                                                             2015-04-14T22:01 :54+00:00    PAID          $2.7120150414
                                                                                                         $2.69 20210617
                                                                                                         $2.65 20200320
                                                                                                               20170411
                                                                                                               20170412
                                                                                                         $2.59 20170618
                                                                                                         $2.57 20180425
                                                                                           Paid          $2.54 20170611
                                                                                           Total         $2.49 20120906
                                                             2017-01-27T21 :02:45+00:00    PAID          $2.49 20170127
                                                             2015-02-06T20:47:11 +00:00    Total         $2.48 20150206
                                                             2010-05-16T14:53:01-07:00     Sale price    $2.47 20100516
                                                             2010-05-16T14:59:30-07:00     Total         $2.47 20100516
                                                             2020-11-15T00:35:53+00:00     Total         $2.4720201114
                                                             2015-02-07T19:59:29+00:00     Total         $2.39 20150207
                                                             2019-03-16T02:37:23+00:00     Total         $2.3920190315
                                                             2018-11-07T22:38:44+00:00     Total         $2.3620181107
                                                             2019-07-31 T09:36:01 +00:00   Total         $2.31 20190731
                                                             2015-02-07T19:53:34+00:00     Total         $2.28 20150207
                                                             2019-04-05T06:00: 18+00:00    Total         $2.28 20190405
                                                             2017-11-26T02:34:44+00:00     Paid          $2.27 20171125
                                                             2018-01-07T20:03:17+00:00     Paid          $2.27 20180107
                                                             2009-11-18T12:32:02-08:00     Sale price    $2.26 20091118
                                                             2018-02-05T12:42:46+00:00     Paid          $2.25 20180205
                                                             2016-10-22T02:04:09+00:00     PAID          $2.24 20161021
                                                             2017-05-21 T07:25:38+00:00    Paid          $2.24 20170521
                                                             2017-09-18T02:12:26+00:00     Paid          $2.24 20170917
                                                             2014-10-24 T06:03:28+00:00    Total         $2.1520141024
                                                                          8                                    20150131
                                                             2016-10-16T01 :08:50+00:00    PAID          $2.1220161015
                                                             2015-04-22T02:35:28+00:00     PAID          $2.1120150421
                                                             2020-09-14 T19:40:55+00:00    won           $2.1020200914
                                                             2015-04-17T00:15:58+00:00     PAID          $2.0820150416
                                                             2017-02-10T04:36:17+00:00     Paid          $2.06 20170209
                                                             2019-03-30T21 :13:25+00:00    Total         $2.02 20190330
                                                             2020-04-30T04:33:45+00:00     price         $2.00 20200429
                                                             2018-09-19T23:59:30+00:00     Total         $2.00 20180919
                                                             2017-03-11 T08:45:50+00:00    Paid          $2.00 20170311


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                                                   2010-10-17T14:14:05-07:00     2010-10-17T14:14:06-07:00     Sale price    $2.00 20101017
                                                   2018-12-20T22:40:50-07:00     2018-12-21 T05:40:52+00:00    Total         $1.9920181220
                                                   2018-11-08T18:57:17-07:00     2018-11-09T01 :57:19+00:00    Total         $1.9920181108
                                                   2018-07-15T11 :51 :40-07:00   2018-07-15T18:51 :43+00:00    Paid          $1.9920180715
                                                   2018-03-01T15:30:12-07:00     2018-03-01 T22:30:14+00:00    Paid          $1.9920180301
                                                   2017-08-02T15:16:11-07:00     2017-08-02T22:16:13+00:00     Paid          $1.9920170802
                                                   2017-06-19T00:04:46-07:00     2017-06-19T07:04:48+00:00     Paid          $1.9920170619
                                                   2018-10-10T21 :36:44-07:00    2018-10-11 T04:36:47+00:00    Total         $1.9820181010
                                                   2018-03-03T10:26: 16-07:00    2018-03-03T17:26:17+00:00     Paid          $1.9820180303
                                                   2017-04-15T03:05:21-07:00     2017-04-15T10:05:23+00:00     Paid          $1.9820170415
                                                   2013-10-27T00:09:41-07:00     2013-10-27T00:09:42-07:00     Total         $1.9820131027
                                                   2012-04-12T19:34:20-07:00     2012-04-12T19:34:21-07:00     Total         $1.9820120412
                                                   2019-08-22T08:45:06-07:00     2019-08-22T15:45:08+00:00     Total         $1.9420190822
                                                                                                                                   20140814
                                                   2017-08-06T03: 18: 18-07:00   2017-08-06T10:18:21 +00:00    Paid          $1.89 20170806
                                                   2014-12-15T15:41 :09-07:00    2014-12-15T22:41 :11 +00:00   PAID          $1.8920141215
                                                   2019-02-05T07:37:21-07:00     2019-02-05T14:37:24+00:00     Total         $1.8820190205
                                                   2017-09-12T17:14:24-07:00     2017-09-13T00:14:26+00:00     Paid          $1.8520170912
                                                   2014-04-22T22:40:53-07:00     2014-04-23T05:40:55+00:00     Total         $1.85 20140422
                                                   2018-07-10T11 :48:04-07:00    2018-07-10T18:48:06+00:00     Total         $1.8320180710
                                                   2014-06-24T19:21 :58-07:00    2014-06-25T02:21 :59+00:00    Total         $1.80 20140624
                                                   2014-06-24 T18:42:35-07:00    2014-06-25T01 :42:36+00:00    Price         $1.80 20140624
                                                   2018-09-19T11 :36:33-07:00    2018-09-19T18:36:37+00:00     Total         $1.7820180919
                                                   2017-08-06T03:13:17-07:00     2017-08-06T10:13:20+00:00     Paid          $1.77 20170806
                                                   2017-05-28T23:35:52-07:00     2017-05-29T06:35:55+00:00     Paid          $1.7520170529
                                                   2020-05-15T02: 16:28-07:00    2020-05-15T09:16:30+00:00     Total         $1.72 20200515
                                                   2017-03-10T19:59:51-07:00     2017-03-11 T02:59:53+00:00    Paid          $1.7120170310
                                                   2017-01-04T01 :34:09-07:00    2017-01-04T08:34:10+00:00     PAID          $1.67 20170104
                                                   2018-07-27T22:38: 16-07:00    2018-07-28T05:38: 18+00:00    Total         $1.6420180727
                                                   2016-09-01 T01 :06:29-07:00   2016-09-01 T08:06:30+00:00    PAID          $1.6220160901
                                                   2016-06-28T13:24:06-07:00     2016-06-28T20:24: 10+00:00    PAID          $1.6220160628
                                                   2018-06-22T18:13:12-07:00     2018-06-23T01 :13:15+00:00    Total         $1.5220180622
                                                   2017-06-29T20:20:05-07:00     2017-06-30T03:20:06+00:00     Paid          $1.5220170629
                                                   2018-06-22T18:12:11-07:00     2018-06-23T01 :12:13+00:00    Total         $1.4520180622
                                                   2020-11-25T20:45:25-07:00     2020-11-26T03:45:26+00:00     Total         $1.42 20201125
                                                   2018-08-29T23:59: 18-07:00    2018-08-30T06:59:22+00:00     Total         $1.4120180830
                                                   2020-05-01T10: 17:29-07:00    2020-05-01T17:17:31 +00:00    Total         $1.40 20200501
                                                   2020-11-20T17:41 :43-07:00    2020-11-21 T00:41 :45+00:00   price         $1.39 20201120
                                                   2015-01-02T14:33:30-07:00     2015-01-02T21 :33:31 +00:00   Total         $1.37 20150102
                                                   2020-11-25T20:44:22-07:00     2020-11-26T03:44:24+00:00     won           $1.35 20201125
                                                   2018-11-07T15:38:06-07:00     2018-11-07T22:38:08+00:00     Total         $1.3220181107
                                                   2018-04-27T22:06:41-07:00     2018-04-28T05:06:44+00:00     Paid          $1.3220180427
                                                   2015-02-05T22:39:36-07:00     2015-02-06T05:39:37 +00:00    Total         $1.3220150205
                                                   2019-02-28T10:23:09-07:00     2019-02-28T17:23:11 +00:00    Total         $1.3020190228
                                                   2016-10-24T10:51 :18-07:00    2016-10-24T17:51 :19+00:00    PAID          $1.3020161024
                                                   2016-09-26T21 :04:41-07:00    2016-09-27T04:04:42+00:00     UNKNOWN       $1.28 20160926
                                                   2018-01-04T19:48:37-07:00     2018-01-05T02:48:40+00:00     Paid          $1.2520180104
                                                   2015-02-07T17: 18:52-07:00    2015-02-08T00:18:53+00:00     Total         $1.2120150207
                                                   2016-10-23T17:46:41-07:00     2016-10-24T00:46:42+00:00     UNKNOWN       $1.1920161023
                                                   2014-12-28T15:46:47-07:00     2014-12-28T22:46:48+00:00     Total         $1.1920141228
                                                   2018-11-14T23:09:37-07:00     2018-11-15T06:09:39+00:00     Total         $1.1820181114
                                                   2018-11-05T15:28:13-07:00     2018-11-05T22:28:14+00:00     Total         $1.1120181105
                                                   2018-10-17T23:26:09-07:00     2018-10-18T06:26:11 +00:00    Total         $1.0920181018
                                                   2017-02-13T15:41 :29-07:00    2017-02-13T22:41 :30+00:00    Paid          $1.0920170213
                                                   2013-11-16T18:02:40-07:00     2013-11-17T01 :02:41 +00:00   Total         $1.0820131116
                                                   2020-04-30T13:37: 17-07:00    2020-04-30T20:37: 19+00:00    Total         $1.05 20200430
                                                   2019-12-04 T14:38:38-07:00    2019-12-04T21 :38:40+00:00    Total         $1.0420191204
                                                   2018-05-04 T09:57: 12-07:00   2018-05-04T16:57:14+00:00     Paid          $1.0420180504
                                                   2020-03-20T20:37:01-07:00     2020-03-21 T03:37:03+00:00    Total         $1.03 20200320
                                                   2018-04-27T22:07:21-07:00     2018-04-28T05:07:24+00:00     Paid          $1.03 20180427
                                                   2014-12-15T16:02:21-07:00     2014-12-15T23:02:22+00:00     PAID          $1.0320141215
                                                   2016-07-02T18:21 :04-07:00    2016-07-03T01 :21 :07+00:00   PAID          $1.01 20160702
                                                   2016-06-30T20:11 :51-07:00    2016-07-01 T03:11 :53+00:00   PAID          $1.01 20160630
                                                   2017-08-15T13:51 :31-07:00    2017-08-15T20:51 :33+00:00    Paid          $1.0020170815
                                                   2017-08-14T19:11 :31-07:00    2017-08-15T02:11 :33+00:00    won           $1.0020170814
                                                   2016-07-02T10:24:38-07:00     2016-07-02T17:24:40+00:00     UNKNOWN       $1.0020160702
                                                   2010-12-05T20:04: 10-07:00    2010-12-05T19:04:10-08:00     Sale price    $1.00 20101205
                                                   2020-04-30T06:30:35-07:00     2020-04-30T13:30:37 +00:00    won           $0.99 20200430


                                       Page 12




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                                       Sheet1
                                                             2019-07-1 0T22:57:39+00:00    Total         $0.99 20190710
                                                             2019-02-08T18:45:02+00:00     Total         $0.99 20190208
                                                             2018-11-20T06:17:46+00:00     Total         $0.9920181119
                                                             2018-11-09T00:35:40+00:00     price         $0.9920181108
                                                             2018-10-11T05:37:13+00:00     Total         $0.99 20181010
                                                             2018-10-11 T04:29:14+00:00    Total         $0.99 20181010
                                                             2018-09-27T04:37:48+00:00     Total         $0.99 20180926
                                                             2018-07-27T21 :53:40+00:00    Total         $0.99 20180727
                                                             2018-03-16T20:42:40+00:00     won           $0.99 20180316
                                                             2018-01-06T22:06:00+00:00     Paid          $0.99 20180106
                                                             2018-01-05T22:31 :01 +00:00   Paid          $0.99 20180105
                                                             2018-01-03T23:41 :13+00:00    Paid          $0.99 20180103
                                                             2018-01-03T21 :52:33+00:00    Paid          $0.99 20180103
                                                             2018-01-03T21 :51 :49+00:00   Paid          $0.99 20180103
                                                             2017-12-27T23:24:32+00:00     Paid          $0.99 20171227
                                                             2017-08-11T06:46:11 +00:00    Paid          $0.99 20170811
                                                             2017-06-19T05:43:10+00:00     Paid          $0.99 20170618
                                                             2017-03-22T06:06:54+00:00     Paid          $0.99 20170322
                                                             2017-03-02T04:46:51 +00:00    Paid          $0.99 20170301
                                                             2017-03-02T03:46:56+00:00     Paid          $0.99 20170301
                                                             2017-02-11 T23:35:54+00:00    Paid          $0.99 20170211
                                                             2017-02-10T05:12:48+00:00     Paid          $0.99 20170209
                                                             2016-11-07T00:40:12+00:00     PAID          $0.9920161106
                                                             2016-10-17T17:38:43+00:00     PAID          $0.99 20161017
                                                             2016-10-13T01 :45:53+00:00    Paid          $0.99 20161012
                                                             2016-10-12T22:42:13+00:00     PAID          $0.99 20161012
                                                             2016-10-12T22:25:40+00:00     PAID          $0.99 20161012
                                                             2016-10-07T13:12:17+00:00     UNKNOWN       $0.99 20161007
                                                             2016-08-05T03:01 :40+00:00    PAID          $0.99 20160804
                                                             2016-08-05T02:51 :36+00:00    won           $0.99 20160804
                                                             2015-09-1 0T04:33:07 +00:00   PAID          $0.99 20150909
                                                             2015-09-10T02:41 :45+00:00    won           $0.99 20150909
                                                             2015-06-14T00:57:48+00:00     PAID          $0.9920150613
                                                             2015-03-31 T22:54:45+00:00    PAID          $0.99 20150331
                                                             2015-02-16T17:15:42+00:00     won           $0.99 20150216
                                                             2015-02-08T00:48:26+00:00     Total         $0.99 20150207
                                                             2015-02-08T00:44:28+00:00     Total         $0.99 20150207
                                                             2015-02-07T04:32:13+00:00     Total         $0.99 20150206
                                                             2015-01-03T23:38:38+00:00     Total         $0.99 20150103
                                                             2015-01-03T21 :26:59+00:00    Total         $0.99 20150103
                                                             2013-10-25T23:07:31-07:00     Total         $0.99 20131026
                                                             2011-02-11T18:35:48-08:00     Sale price    $0.9920110211
                                                             2010-05-04T20:46:15-07:00     Sale price    $0.99 20100504
                                                             2009-12-02T00:42:56-08:00     Sale price    $0.99 20091202
                                                             2008-05-08T10:55:39-07:00     Sale price    $0.99 20080508
                                                             2016-10-07T18:08:17+00:00     Paid          $0.80 20161007
                                                             2011-08-25T17:50:22-07:00     Sale price    $0.8020110825
                                                             2016-10-22T02:03:26+00:00     UNKNOWN       $0.55 20161021
                                                             2016-10-15T04:47:24+00:00     PAID          $0.49 20161014
                                                             2017-03-22T20:25:40+00:00     Paid          $0.4120170322
                                                             2017-03-22T20:17:17+00:00     won           $0.4120170322
                                                             2016-10-15T04:30:56+00:00     UNKNOWN       $0.32 20161014
                                                             2017-08-12T09:24:37+00:00     Paid          $0.1520170812
                                                             2017-08-12T02:31 :04+00:00    won           $0.1520170811
                                                             20 6'01'31        :1                        IQ.1 20150131
                                                             2010-12-20T08:51 :24-08:00    Sale price    $0.01 20101220




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    {Preferred
Appellate Case: 23-1197Sealed}  Plaintiff’s
                         Document: 010110901183 Exhibit
                                                 Date Filed:N  : CorvelPage:
                                                             08/10/2023  Notice
                                                                             18
                             {Preemptive} Notice of Claim
     • On 10/19/21, a fire occurred at the ‘Whittier Place Condominiums’complex, located at 2301
 Pearl Street in Boulder, Colorado, which caused damage to the building(s), of which Condominium #39
 contains Plaintiff's property (registered as owned by a Trust of which he is beneficiary) - the Trust
 Company has further indicated that they chose to acquire insurance at a level which is less than the
 value of Claimant’s possessions of which they had been informed). The City has indicated that their
 own insurance is a primary cause of their position on issues. Some of the apartments were more dam-
 aged than others; claimant was originally informed that residents would be allowed back in to collect
 possessions within a day, later within ~ a few days. In Claimant’s opinion, as an Engineering Graduate
 of the University of Colorado, Condominium #39 in which he was residing appears facially to have sig-
 nificant portions intact, whose contents should be recoverable, and personally feels that it would worth
 the risk/reward to him in venturing in to recover items. Claimant has clearly expressed an interest in
 recovering the contents by multiple avenues, and further suggested alternate routes such as recovery via
 rope access technicians, or robotic means, even offering to go in himself with AD&D insurance, with-
 out satisfactory response or basis • Members of Boulder Fire and Rescue, and Police departments have
 been involved (with direct involvement initially including Detective Sarah Cantu). • Claimant has just
 been informed that demolition of the building has been scheduled • Replacement of even those replace-
 able of Claimant’s thousands of possessions (many obtained at auction) could also potentially incur
 more value in time than the insured value of the possessions themselves.
  INFORMATION WHICH CLAIMANT BELIEVES SHOULD BE CONSIDERED CONFIDEN-
     TIAL INFORMATION / NOT DISCLOSED i.e. via Colorado / Federal Trade Secrets Acts:
     • If near term demolition is allowed to go through, with parties including the City and HOA contin-
 uing to be obstructive, without allowing for recovery, Claimant’s property, which has been valued at
 over $XXXXXXXXC.F.I. (+time lost) may be damaged or irretrievable (for which loss any and all par-
 ties with responsibility may potentially be held accountable and/or pursued, i.e. potentially pro-rata or
 severally). This information is covered by the Astrobyte / Extensis Merger confidentiality agreements,
 obtainable via the originating attorney(s): https://www.moyewhite.com/professionals/edwin-a-naylor
 If the city will provide a conformant non-disclosure agreement, more details can be provided. Alternate
 means of recovery of the value of possessions is as yet unclear.     [Map of personal property enclosed]

  Signature of ‘Claimant’:                                                       Date:

  Address: 1750 30th St Suite A338, Boulder CO 80301                             Phone:     303-351-4239

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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                   Judge Nina Y. Wang

  Civil Action No. 23-cv-00645-NYW

  DAVID WILLIAM DACRES SHAVER,

         Plaintiff,

  v.

  WHITTIER CONDOMINIUMS HOA,

         Defendant.


                                               ORDER


         This matter is before the Court on the Response and Motion to Stay/Extend

  Termination/Order of 4.12 Pending Intended Appeal Outcome (the “Motion” or “Motion for

  Interlocutory Appeal”) filed on May 3, 2023 by Plaintiff David William Dacres Shaver (“Plaintiff”

  or “Mr. Shaver”) [Doc. 32]. The Court has reviewed Plaintiff’s Response, the entire docket, and

  the applicable case law.    Because Plaintiff has not established that interlocutory review is

  appropriate in this matter, it is ORDERED that the Motion for Interlocutory Appeal is DENIED.

  And because Plaintiff has not filed an amended pleading by the Court’s May 3, 2023 deadline, it

  is ORDERED that the Clerk of Court shall TERMINATE this case.

                                          BACKGROUND

         This Court set out the factual and procedural background of this case in a prior Order, see

  [Doc. 27], and does so again here only as necessary for purposes of this Order. Mr. Shaver initiated

  this civil action on March 13, 2023 against Defendant Whittier Condominiums HOA

  (“Defendant”). See [Doc. 1]. The Complaint states that “[t]his is an action to recover possession




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  of personal property and/or damages.” [Id. at 1]. On March 14, 2023, this Court entered an Order

  to Show Cause directing Plaintiff to show cause why his case should not be dismissed without

  prejudice for lack of subject matter jurisdiction. See [Doc. 16]. The Court noted that the Complaint

  does not clearly allege any violation of federal law or assert another basis for federal jurisdiction.

  [Id. at 2 n.2 (noting that Plaintiff did not invoke diversity jurisdiction), 3]. And while the Court

  acknowledged that other filings in this case suggested that Plaintiff believes his constitutional

  rights have been violated, see, e.g., [Doc. 9 at 3], the Court noted that “Plaintiff does not allege

  that Defendant is a government actor, and it does not appear plainly on the face of the Complaint

  that it is.” [Doc. 16 at 4].

          Mr. Shaver responded to the Order to Show Cause on March 31, 2023, raising numerous

  purported bases for the Court’s subject matter jurisdiction. See [Doc. 24]. The Court went through

  each asserted jurisdictional basis and explained why each was insufficient to establish the Court’s

  subject matter jurisdiction. See [Doc. 27 at 6–13]. Because the Court lacked subject matter

  jurisdiction over the case, the Court dismissed Plaintiff’s Complaint without prejudice, but sua

  sponte granted Plaintiff leave to file an amended pleading within 21 days of the Court’s Order—

  or May 3, 2023. [Id. at 13]. In so doing, the Court explained to Plaintiff the pleading requirements

  set forth in Rule 8. [Id. at 13–14]. The Court also expressly advised Plaintiff that “if he declines

  to file an amended complaint by the Court’s deadline, the Court will direct the Clerk of

  Court to terminate this case.” [Id. at 13 (emphasis in original)].

          Mr. Shaver did not file an amended pleading by the Court’s deadline; instead, he filed the

  Motion for Interlocutory Appeal. Therein, he asserts that “Plaintiff, and his advisors believe, with

  what they think is significant researched® [sic] basis for such belief, that all of this Court’s

  positions against the original Complaint are arguable in the circumstances.” [Doc. 32 at 1]. He



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  states that he is “still of the opinion and belief that subject matter jurisdiction should be logically

  and/or legally determinable from provided filings.” [Id.]. And he posits that “it appears that

  addressing some of these issues may require the involvement of Higher Courts under the

  circumstances of this case.” [Id. at 2]. Thus, Plaintiff “Provides Notice that he Intends [to] Appeal

  of these or other ~Order Issues [sic].” [Id. (emphasis omitted)]. Plaintiff requests that the Court

          Stay its Order i.e. terminating Plaintiff’s case (&| provide for support for any
          ‘Interlocutory Appeal’/certifications {i.e. via 28 U.S.C. § 1292(b)} which may be
          necessary or appropriate in such an instance), & Extend deadlines for Amendation
          [sic] of Complaint or other Filings until or for determination of Appeal outcome(s),
          &| for any other necessary &| just &| appropriate relief.

  [Id.]. Accompanying the Motion is a Brief in Support of Complaint for Replevin +/ Preliminary

  Injunction, see [Doc. 31], which Plaintiff states is “inclusive of said precedents*, in order that this

  Court [sic] may factor its findings into its own consideration.” [Doc. 32 at 1]. The Court construes

  the Motion as requesting certification of this case for interlocutory appeal and a corresponding

  extension of time to file an amended pleading.

                                               ANALYSIS

          Under 28 U.S.C. § 1292, a district court may certify an issue for interlocutory appeal if

  three criteria are met: (1) the order involves a “controlling question of law;” (2) there is “substantial

  ground for difference of opinion” as to the resolution of the question; and (3) certification “may

  materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). “A district

  court has discretion in determining whether to certify an order for interlocutory appeal.” Ebonie

  S. ex rel. Mary S. v. Pueblo Sch. Dist. 60, No. 09-cv-00858-WJM-MEH, 2011 WL 1882829, at *2

  (D. Colo. May 17, 2011). However, interlocutory appeals are “traditionally disfavored.” Vandiver

  v. MG Billing Ltd., No. 21-cv-02960-CNS-MDB, 2023 WL 3247286, at *1 (D. Colo. May 4,

  2023). This is because interlocutory appeals “are necessarily ‘disruptive, time-consuming, and


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  expensive’ for the parties and the courts.” Vallario v. Vandehey, 554 F.3d 1259, 1262 (10th Cir.

  2009) (quoting Waste Mgmt. Holdings, Inc. v. Mowbray, 208 F.3d 288, 294 (1st Cir. 2000)); see

  also Goldberg v. UBS AG, 690 F. Supp. 2d 92, 101 (E.D.N.Y. 2010) (noting that an interlocutory

  appeal may “prolong judicial proceedings, add delay and expense to litigants, burden appellate

  courts, and present issues for decisions on uncertain and incomplete records, tending to weaken

  the precedential value of judicial opinions”). Thus, courts only certify issues for interlocutory

  appeal in exceptional circumstances. Vandiver, 2023 WL 3247286, at *1.

         Mr. Shaver raises no substantive argument under § 1292(b) and does not explain why the

  statute’s three criteria are met here. See generally [Doc. 32]. Although Mr. Shaver proceeds pro

  se and is entitled to a liberal construction of his filings, Haines v. Kerner, 404 U.S. 519, 520–21

  (1972), the Court cannot act as his advocate. Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir.

  1991). In other words, the Court cannot raise arguments on behalf of Mr. Shaver that he does not

  raise himself. See United States v. Davis, 622 F. App’x 758, 759 (10th Cir. 2015) (“[I]t is not this

  court’s duty, after all, to make arguments for a litigant that he has not made for himself.”).

         In any event, the Court cannot conclude that this case presents the exceptional

  circumstances necessary to permit an interlocutory appeal. First, Mr. Shaver has not explained

  why this case involves a “substantial ground for difference of opinion,” as required by § 1292(b).

  This Court explained to Plaintiff, in detail, why all of his asserted bases for subject matter

  jurisdiction are insufficient to establish the Court’s jurisdiction over this case. [Doc. 27 at 6–13].

  Specifically, the Court explained that many of the federal laws cited by Plaintiff in his Response

  to the Order to Show Cause are absent from his Complaint, see [id. at 8–9], and many of the

  federal-law doctrines cited by Plaintiff are not independent bases of federal jurisdiction. [Id. at 9–



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  11]. Furthermore, Plaintiff has not demonstrated that this state-law case involves a substantial

  question of federal law. [Id. at 11–13]. In reaching these conclusions, the Court relied on settled

  Tenth Circuit and Supreme Court precedent. See [id. at 6–13]. While Plaintiff states that he and

  “his advisors” disagree with the Court’s conclusions, see [Doc. 32 at 1], mere disagreement with

  the Court’s decision is insufficient to demonstrate a substantial ground for difference of opinion.

  See Diaz v. King, No. CV 14-1086 KG/SCY, 2016 WL 8925344, at *3 (D.N.M. Jan. 13, 2016)

  (“Plaintiff’s mere disagreement with the Court’s Order of Partial Dismissal does not constitute a

  substantial ground for difference of opinion.”); see also Couch v. Telescope Inc., 611 F.3d 629,

  633 (9th Cir. 2010) (explaining that a “substantial ground for difference of opinion” may exist

  where “the circuits are in dispute on the question and the court of appeals of the circuit has not

  spoken on the point, if complicated questions arise under foreign law, or if novel and difficult

  questions of first impression are presented.” (quotation omitted)). This case does not involve an

  unsettled question of law, but instead the simple question of whether Plaintiff has demonstrated a

  basis for this Court’s subject matter jurisdiction over a replevin action asserted under state law.

  Mr. Shaver has not demonstrated a substantial ground for difference of opinion warranting an

  interlocutory appeal.

         Furthermore, the Court does not believe that an interlocutory appeal would materially

  advance the outcome of this litigation. It is clear to the Court that despite this Court’s dismissal

  of Plaintiff’s Complaint and sua sponte grant of leave to file an amended pleading, Mr. Shaver

  does not intend to file an amended complaint to cure the jurisdictional defects identified by the

  Court, and instead seeks review of the Court’s Order by a higher court. It would not be in the

  interest of judicial economy to certify the case for interlocutory appeal, which would effectively



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  stay this case pending the outcome of the appeal, leaving a dormant case—over which this Court

  has concluded it lacks subject matter jurisdiction—on this Court’s docket. See Gometz v. Knox,

  No. 07-cv-01734-BNB, 2007 WL 2986165, at *1 (D. Colo. Oct. 9, 2007) (denying request for

  interlocutory appeal where the plaintiff “assert[ed] that he ha[d] no intention of complying with

  Magistrate Judge Shaffer’s order to cure the deficiencies” in his complaint and instead sought an

  interlocutory appeal). The more appropriate option, which was expressly communicated to

  Plaintiff in the Court’s prior Order, is to direct the Clerk of Court to terminate this case, given the

  dismissal of Plaintiff’s Complaint, the Court’s lack of subject matter jurisdiction over this case,

  and Mr. Shaver’s failure to file an amended pleading by the Court’s deadline. Should Mr. Shaver

  seek to appeal the Court’s dismissal, he is free to file a notice of appeal. See Amazon, Inc. v. Dirt

  Camp, Inc., 273 F.3d 1271, 1275 (10th Cir. 2001) (“Although a dismissal without prejudice is

  usually not a final decision, where the dismissal finally disposes of the case so that it is not subject

  to further proceedings in federal court, the dismissal is final and appealable.”); cf. Interstate Med.

  Licensure Compact Comm’n v. Bowling, No. 20-cv-02942-CMA-NRN, 2023 WL 2018902, at *4

  (D. Colo. Feb. 15, 2023) (“Ms. Bowling is certainly entitled to appeal the final decision in this

  case, but the Court will not go against Congress’s will by allowing an interlocutory appeal solely

  because a party intends to file an appeal in the future.”). Stated differently, because an order

  closing the case would lead to the same result—an appeal of the Court’s Order—as an order

  certifying the issue for interlocutory appeal, certification would not “materially advance” the

  resolution of this litigation, as required under § 1292(b).

          Finally, insofar as Mr. Shaver requests an extension of time to file an amended pleading,

  the basis for this request is solely to permit him to file an interlocutory appeal of this Court’s Order



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  dismissing his Complaint without prejudice. See [Doc. 32 at 2 (requesting that the Court “Extend

  deadlines for Amendation [sic] of Complaint or other Filings until or for determination of Appeal

  outcome(s)”)]. Because the Court finds no basis to permit an interlocutory appeal, and because

  Mr. Shaver has made clear that he does not intend to file an amended pleading prior to appellate

  review of this Court’s dismissal of the Complaint, the Court declines to grant an extension of Mr.

  Shaver’s deadline to file an amended pleading.

         Accordingly, the Court will DENY the Motion for Interlocutory Appeal. Because this

  Court has already dismissed Plaintiff’s Complaint without prejudice for lack of subject matter

  jurisdiction, and because Mr. Shaver has not filed an amended pleading by the Court’s deadline, it

  is further ORDERED that the Clerk of Court shall TERMINATE this case.

                                          CONCLUSION

         For the reasons set forth herein, it is hereby ORDERED that:

         (1)     The Response and Motion to Stay/Extend Termination/Order of 4.12 Pending

                 Intended Appeal Outcome [Doc. 32] is DENIED; and

         (2)     Because Plaintiff’s Complaint has been dismissed without prejudice for lack of

                 subject matter jurisdiction, and because Plaintiff has not filed an amended pleading

                 by the Court’s deadline, the Clerk of Court is DIRECTED to TERMINATE this

                 case; and

         (3)     A copy of this Order shall be sent to:

                 David William Dacres Shaver
                 1750 30th Street
                 #A338
                 Boulder, CO 80301




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  DATED: May 9, 2023                        BY THE COURT:



                                            _______________________
                                            Nina Y. Wang
                                            United States District Judge




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